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Beginning    Ending Bates Description
Bates Number Number

COURT00001      COURT00002      Preliminary information for obtaining merchandise by bogus check
                                against Lindsey Springer
COURT00003      COURT00004      Judgment and Sentence on Plea Nolo Contendere Misdemeanor and
                                Record of Plea
COURT00005      COURT00005      Motion to Suppress Statements
COURT00006      COURT00008      Agreement for Restitution for Bogus Check
COURT00009      COURT00009      Arrest Warrant
COURT00010      COURT00015      Petition & Docket against Hustler Magazine
COURT00016      COURT00020      Jurisdictional Challenge
COURT00021      COURT00023      Response to Jurisdictional Challenge
COURT00024      COURT00025      Order
COURT00026      COURT00032      Motion for Clarification of 2000 Sanctions
COURT00033      COURT00039      Copy of Lindsey's Court of Appeals case, from Lexis, regarding his civil
                                rights complaint for lack of personal jurisdiction
COURT00040      COURT00056      Order and Judgment
COURT00057      COURT00065      Copy of Securities of Exchange Commission v. The Infinity Group, et.al
                                case from Lexis
COURT00066      COURT00073      Complaint for Temporary and Permanent Injunctions and Other Relief

COURT00074      COURT00076      Affidavit of Jeanie Rush
COURT00077      COURT00078      Business card of Tiffini Matthews with handwritten note on it
COURT00079      COURT00083      Fax from Clerk of the Court to Brian Shern of the criminal docket of
                                Lindsey Springer for Remove, alter, tampering with motor vehicle VIN
                                number and Plea Agreement.
COURT00084      COURT00389      John Parker Appeal from Orders-5/21/07 & 6/5/07 with attachments
COURT 00390     COURT00639      John Parker v. Jim Perry, et al. transcript of Hearing for Contempt
                                Citation with attachments
COURT00640      COURT00647      Order of the Court regarding Rule 11 Sanctions
COURT00648      COURT00809      Appeal from Judgment with attachments
COURT00810      COURT00813      Judgment
COURT00814      COURT00815      Submission of Documents Demonstrating Court's Advocacy
COURT00816      COURT00818      Motion to Amend of Finding of Fact Pursuant to Rule 52
COURT00819      COURT00820      Response to Motion to Amend Finding of Fact
COURT00821      COURT01070      John Parker - Hearing for Contempt Citation 1/14/05 with attachments

COURT01071      COURT01071      Oscar Stilley - CERTIORARI 3/4/06
COURT01072      COURT01157      John Parker - Supplemental Record Pursuant to Writ of Certiorari with
                                attachments
COURT01158      COURT01175      Oscar Stilley -Supreme Court of Arkansas Appeal from the Sebastian
                                County Circuit Court
COURT01176      COURT01178      John Parker - Objection of Univ. of Arkansas Continuance of Hearing

COURT01179      COURT01187      Oscar-Stilley - Motion for Stay Pending Determination of Habeas
                                Petition
COURT01188      COURT01194      Oscar Stilley- Report and Recommendation
COURT01195      COURT01198      John Parker- Response to Stilley's Motion for Extension for Time
COURT01199      COURT01199      John Parker - Order regarding Extension of Time for Continuance.
COURT01200      COURT01200      Order regarding Motion by Oscar Stilly to Withdraw Subpoenas.


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COURT01201       COURT01227       Emergency Motion for Leave to Intervene
COURT01228       COURT01235       Order for Hearing the Motions regarding Rule 11 Sanctions
COURT01236       COURT01239       Order for Hearing the Amended Motion to Enforce Sanctions with copy
                                  of cashier's check to the Clerk of the Court
COURT01240       COURT01240       Order for 24 Hour Furlough from Sebastian County Detention Center

COURT 01241      COURT01245       Emergency Motion for Termination of Remedial Detention with copy of
                                  cashier's check to the Clerk of the Court.
COURT01246       COURT01247       Order regarding Motion for Termination of Remedial Detention
COURT01248       COURT01249       Letter from Oscar Stilley to Clerk of the Court submitting payment of
                                  interest with copies of two cashier's check
COURT01250       COURT01250       Balance Due on Sanctions of October 4, 2002, Order
COURT01251       COURT01251       Balance Due on Sanctions of January 18, 2005, Order
COURT01252       COURT01252       Letter from James Llewellyn, Jr. to Judge Tabor regarding principal and
                                  interest on Court Order of October 4, 2002
COURT01253       COURT01254       Copies of cashier's checks
COURT01255       COURT01256       Order regarding Second Motion for Termination for Remedial Detention

COURT01257       COURT01258       Order regarding Oscar Stilley contempt
COURT01259       COURT01260       Order regarding Calculations of Fines Due and Owing by Oscar Stilley

COURT01261       COURT01261       Order regarding Oscar Stilley's Motion for New Trial
COURT01262       COURT01262       Formal Order of the Supreme Court
COURT01263       COURT01263       Letter from Oscar Stilley to John Parker regarding his suspension from
                                  practice in the Courts of the State of Arkansas
COURT01264       COURT01264       Letter from the Clerk of the Court of the Supreme Court to attorneys
                                  Maurras and Smith dated 1/17/08
COURT01265       COURT01265       Letter from the Clerk of the Court of the Supreme Court to Oscar Stilley
                                  dated 1/31/08
COURT01266       COURT01269       Supreme Court Opinion regarding Motion for Recusal
COURT01270       COURT01270       CERTIORARI -2/15/08
COURT01271       COURT01357       Transcript of Hearing of Amended Motion to Enforce Sanctions with
                                  attachments
COURT01358       COURT01358       Fee Bill
COURT01359       COURT01364       Judgment in criminal case for Richard Blackstock
COURT01365       COURT01369       Notice to Court for Dismissal of Attorneys
COURT01370       COURT01391       Transcript of Arraignment Hearing for Richard Blackstock 6/15/06
COURT01392       COURT01409       Criminal Docket for US v. Blackstock 06-cr-00062
COURT01410       COURT01411       Motion to Withdraw as Attorney
COURT01412       COURT01412       Richard Blackstock Transcript Summaries
COURT01413       COURT01452       Transcript of Arraignment Hearing for Richard Blackstock 6/15/06
COURT01453       COURT01525       Lindsey Springer - Complaint with exhibits
COURT01526       COURT01683       Deposition of Lindsey Springer 1/23/98 & 1/27/98
COURT01684       COURT01939       Transcript of Jury Trial of Harold Boos -Volume 3
COURT01940       COURT02198       Transcript of Jury Trial of Harold Boos -Volume 2
COURT02199       COURT02412       Transcript of Jury Trial of Harold Boss - Volume 1
FINANCIAL00001   FINANCIAL00001   Letter from JP Morgan Chase to IRS reg. photocopies of documents
                                  retrieved
FNANCIAL00002    FINANCIAL00002   Bank 1 Business Signature Card for Energy Title Consultants
FINANCIAL00003   FINANCIAL00003   Bank 1 Direct Deposit Application for Mary Davis
FINANCIAL00004   FINANCIAL00937   Bank 1 checking account ledger for Energy Title Consultants printed
                                  7/26/05


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FINANCIAL00938   FINANCIAL00943   Bank of America letters regarding subpoena for records
FINANCIAL00944   FINANCIAL00944   Affidavit from Bank of America Custodian of Records
FINANCIAL00945   FINANCIAL00946   Bank of America personal signature card for Jeanie Springer
FNANCIAL00947    FINANCIAL01036   Bank of America bank statements for checking account for Jeanie
                                  Rush/Jeanie Springer
FINANCIAL01037   FINANCIAL01041   Copies of money orders made out to Jeanie Rush, purchased by
                                  Lindsey Springer
FINANCIAL01042   FINANCIAL01042   Bank of America "Cash In-Debit" for $1,000.
FINANCIAL01043   FINANCIAL01043   Arvest bank check from Samuel Rush to Jeanie Rush for $300.00
FINANCIAL01044   FINANCIAL01050   Multiple Bank of America "Cash In-Debits"
FINANCIAL01051   FINANCIAL01051   Treasury Check to Jeanie Rush for $2,235.
FINANCIAL01052   FINANCIAL01074   Multiple Bank of America "Cash In-Debits"
FINANCIAL01075   FINANCIAL01075   Bank of America Certificate of Authenticity from Custodian of Records

FINANCIAL01076   FINANCIAL01130   Bank of America Visa Account Summary for Jeanie Springer
FINANCIAL01131   FINANCIAL01276   Subpoena to Checks Cashed Records Custodian with attachments of
                                  Currency Transaction Reports and corresponding cashed checks
FINANCIAL01277   FINANCIAL01277   Subpoena to Selhost Financial Corp.
FINANCIAL01278   FINANCIAL01302   Selhost Financial Corp. Certificate of Authenticity from Custodian of
                                  Records with attachments reg. residential loan application packet to
                                  include various bank records
FINANCIAL01303   FINANCIAL01303   Contract and Declaration of Trust cover sheet
FINANCIAL01304   FINANCIAL01304   Plaintiff's Motion for Default Hearing regarding Herbert Bernstein
FINANCIAL01305   FINANCIAL01307   Express Equity and Pure Trust form by John Posley and Jeff Lewis
FINANCIAL01308   FINANCIAL01308   Copy of payroll check from Web Elite to Patrick Turner
FINANCIAL01309   FIANCIAL01355    Copy of Application for Extension of Time to File Income Tax for 2004
                                  for Patrick & Patricia Turner with 2003 tax forms
FINANCIAL01356   FINANCIAL01357   Residential Lease Agreement for Mark & Amy Broderick on 5/8/2004

FINANCIAL01358   FINANCIAL01369   Credco Fast Alert Report for Selhost Financial Corp.
FINANCIAL01370   FINANCIAL01384   Residential Appraisal form and attachments for Patrick Turner
FINANCIAL01385   FINANCIAL01386   Settlement Statement
FINANCIAL01387   FINANCIAL01387   Aegis Wholesale Corp. Servicing Disclosure Statement
FINANCIAL01388   FINANCIAL01388   Truth & Lending Statement
GJ00001          GJ00076          Grand Jury transcript of Brian Demerurio and exhibits
GJ00077          GJ00102          Grand Jury transcript of Arthur Hawkins and exhibits
GJ00102          GJ00156          Grand Jury transcript of Cynthia Hawkins and exhibits
GJ00157          GJ00177          Grand Jury testimony of Barbara Hodsden and exhibits
GJ00178          GJ00231          Grand Jury testimony of James Lake and exhibits
GJ00232          GJ00298          Grand Jury testimony of Lawrence Logsdon and exhibits
GJ00299          GJ00358          Grand Jury testimony of Andrew Ouwenga and exhibits
GJ00359          GJ00395          Grand Jury testimony of Sam Palmer and exhibits
GJ00396          GJ00436          Grand Jury testimony of Dennis Patridge
GJ00437          GJ00476          Grand Jury testimony of Eddy Patterson
GJ00477          GJ00518          Grand Jury testimony of Phillip Roberts
GJ00519          GJ00563          Grand Jury testimony of Larry Simmons and exhibits
GJ00564          GJ00574          Grand Jury testimony of Brian Shern dtd 20060309
GJ00575          GJ00600          Grand Jury testimony of Brian Shern dtd 20060609
GJ00601          GJ00646          Grand Jury testimony of Brian Shern dtd 20070208
GJ00647          GJ00675          Grand Jury testimony of Brian Shern dtd 20080711
GJ00676          GJ00732          Grand Jury testimony of Oscar Stilley and exhibits
GJ00733          GJ00769          Grand Jury testimony of Ernest Swisher and exhibits


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GJ00770           GJ00837           Grand Jury testimony of Patrick Turner and exhibits
GJ00838           GJ01090           Grand Jury testimony of Patrick Turner and exhibits
GJ01091           GJ01278           Grand Jury testimony of Patricia Turner and exhibits
GJ01279           GJ01320           Grand Jury testimony of Vicki Wiggins
GJ01321           GJ01339           Grand Jury testimony of Ronald Young
GJ01340           GJ01389           Grand Jury testimony of Lindsey Springer in US v Sovereign Business
                                    Systems dtd 19960606
GJ01390           GJ01441           Grand Jury testimony of Lindsey Springer in US v Sovereign Business
                                    Systems dtd 19960918
HISTORICAL00001   HISTORICAL00008   Bondage Breakers Membership application for Charlene Reddick
HISTORICAL00009   HISTORICAL00009   Letter from First Consumer's Bank to Charlene closing credit card dated
                                    9/2/94.
HISTORICAL00010   HISTORICAL00010   Notice of Revocation reg. signature card to First Consumer's Bank from
                                    Charlene dated 7/12/94
HISTORICAL00011   HISTORICAL00016   Subpoena to First Bank of Claremore dated 12/1/98
HISTORICAL00017   HISTORICAL00018   Subpoena to Brooks Fiber dated 7/7/98
HISTORICAL00019   HISTORICAL00022   Subpoena to Nations Bank 1/6/98
HISTORICAL00023   HISTORICAL00024   Subpoena to Jackie Cooper Imports of Tulsa dated 1/6/98
HISTORICAL00025   HISTORICAL00026   Subpoena to Nations Bank 2/3/98
HISTORICAL00027   HISTORICAL00028   Subpoena to John Hausam dated 8/4/98
HISTORICAL00029   HISTORICAL00036   Letter from James Lang to Neal Kirkpatrick with attached Lindsey
                                    Springer's lawsuit Petition against Hustler magazine
HISTORICAL00037   HISTORICAL00038   Letter from Ron Cimino to Stephen Lewis authorizing Grand Jury
                                    expansion for Lindsey Springer dated 11/6/97
HISTORICAL00039   HISTORICAL00046   Request to Judge to expand Grand Jury Investigation to include
                                    Lindsay Springer to include exhibits
HISTORICAL00047   HISTORICAL00055   Letter to Nathan Rodman from Stephen Lewis requesting expansion of
                                    Lindsey Lewis to Grand Jury Investigation dated 9/16/97, includes
                                    attachments
HISTORICAL00056   HISTORICAL00056   Letter from Neal Kirkpatrick to David O'Meilia dated 3/17/98
HISTORICAL00057   HISTORICAL00168   Copies of several WestLaw cases
HISTORICAL00169   HISTORICAL00170   Letter from Russell Munk to Gaylon Harrell dated 11/3/97
HISTORICAL00171   HISTORICAL00173   Letter from Russell Munk to Gaylon Harrell dated 8/21/96 with
                                    attachment
HISTORICAL00174   HISTORICAL00497   Transcript of meeting with John White, Susan Prine, Clyde LaRue, and
                                    Lindsey Springer dated 5/3/95
HISTORICAL00498   HISTORICAL00501   Checks to Bondage Brokers Ministry and Lindsey Springer from several
                                    different sources
HISTORICAL00502   HISTORICAL00510   List of names and addresses of payors for 1995, 1996, and 1997
HISTORICAL00511   HISTORICAL00524   List of Payor and Payee and amounts for 1995,1996, 1997, 1998
HISTORICAL00525   HISTORICAL00526   Application and ledger from Checks Cashed
HISTORICAL00527   HISTORICAL00527   Lindsey Springer's driver's license
HISTORICAL00528   HISTORICAL00531   Western Union money transfers from Lindsey Springer
HISTORICAL00532   HISTORICAL00649   Multiple checks written to Lindsey and Regina Springer
HISTORICAL00650   HISTORICAL00650   Application and ledger from Checks Cashed
HISTORICAL00651   HISTORICAL00713   Multiple checks written to Lindsey and Bondage Breakers Ministries

HISTORICAL00714   HISTORICAL00714   Memo from Marsha Overholser to Kathy Bittner dated 5/12/97
HISTORICAL00715   HISTORICAL00773   Indictment
HISTORICAL00774   HISTORICAL00775   Application and ledger from Checks Cashed
HISTORICAL00776   HISTORICAL00793   Multiple checks written to Lindsey Springer and Bondage Breakers
                                    Ministries


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HISTORICAL00794    HISTORICAL00795   Currency Transaction Report
HISTORICAL00796    HISTORICAL00796   Bank of America check to Lindsey from Infinity Group for $10,000.
                                     dated 5/20/97 check#1824
HISTORICAL00797    HISTORICAL00798   Letter from IRS to Checks Casher dated 7/9/97
HISTORICAL00799    HISTORICAL00799   Currency Transaction Report
HISTORICAL00800    HISTORICAL00800   Bank of America check to Lindsey from Infinity Group for $10,000.
                                     dated 5/20/97 check#1822
HISTORICAL00801    HISTORICAL00801   Currency Transaction Report
HISTORICAL00802    HISTORICAL00802   Bank of America check to Lindsey from Infinity Group for $10,000.
                                     dated 5/20/07 check #1823
HISTORICAL00803    HISTORICAL00804   Currency Transaction Reports
HISTORICAL00805    HISTORICAL00805   Two Bank of America checks to Lindsey from Infinity Group for
                                     $10,000. each dated 5/20/97
HISTORICAL00806    HISTORICAL00807   Currency Transaction Reports
HISTORICAL00808    HISTORICAL00808   Bank of America check to Lindsey from Infinity Group for $10,000.
                                     dated 5/20
HISTORICAL00809    HISTORICAL00882   Multiple checks to Lindsey, Regina and Bondage Breakers Ministries

HISTORICAL00883    HISTORICAL00883   Letter from American Bank & Trust to Kathy Beckner dated 4/3/98
HISTORICAL00884    HISTORICAL00884   Closed account information from Lindsey Springer
HISTORICAL00885    HISTORICAL00885   DOJ Request for Financial Information form for American Bank & Trust

HISTORICAL00886    HISTORICAL00903   Memorandum in civil action for SEC v. The Infinity Grp.
HISTORICAL00904    HISTORICAL00914   Order for Final Injunction for SEC vs the Infinity Grp. & Future Holdings
                                     Co.
HISTORICAL00915    HISTORICAL00915   ORDER
HISTORICAL00916    HISTORICAL00921   Copy of case from WestLaw
HISTORICAL00922    HISTORICAL00932   Fax cover sheet and Complaint for Lindsey Springer v. United States et
                                     al
HISTORICAL00933    HISTORICAL00936   ORDER
HISTORICAL00937    HISTORICAL00942   CIVIL DOCKET SHEET for Springer v. United States
HISTORICAL00943    HISTORICAL00944   ORDER
HISTORICAL00945    HISTORICAL00946   Amended Notice of Appeal
HISTORICAL00947    HISTORICAL00948   ORDER
HISTORICAL00949    HISTORICAL00950   Letter from Court of Appeals to Lombardi, Springer and Bernhardt dated
                                     10/16/97
HISTORICAL00951    HISTORICAL00977   Transcript of the M. Sherman Show on KRMG radio with Springer
HISTORICAL00978    HISTORICAL00979   IRS Query done on Lindsey Springer
HISTORICAL00980    HISTORICAL00986   Memorandum of Activity on Surveillance on Lindsey Springer dated
                                     4/14/97
HISTORICAL00987    HISTORICAL00987   Letter from Kenneth Kraklio dated 3/8/97 discussing setting up
                                     meetings for Lindsey Springer
HISTORICAL00988    HISTORICAL00989   Flyer regarding the meeting place and time
HISTORICAL00990    HISTORICAL01007   Fax cover sheet and transcript of a VCR presentation of Lindsey
                                     Springer
HISTORICAL01008    HISTORICAL01010   Letters from Lucre Oil Co. to Tom Coburn dated 8/6/96
HISTORICAL01011    HISTORICAL01013   Letters from Lucre Oil Co. to Board of Governors dated 7/18/96
HISTORICAL01014    HISTORICAL01061   Transcript of a Larry Springer meeting discussing his law suit dated
                                     7/22/97
HISTORICAL 01062   HISTORICAL01067   ADIO Subscriber Service Agreement
HISTORICAL01068    HISTORICAL01074   Invoice and Labor Summary Report for ADIO
HISTORICAL01075    HISTORICAL01087   Joint Venture Agreement for John Kruger


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HISTORICAL01088    HISTORICAL01098   Letters to LaMesa Norpool Ventures
HISTORICAL01099    HISTORICAL01099   Fax from Ann Lewis to Dennis Dagey regarding timeliness of oversees
                                     wires
HISTORICAL01100    HISTORICAL01100   Redacted letter from David dated 11/13/94 regarding wire transfers
HISTORICAL01101    HISTORICAL01179   Letters to LaMesa Norpool Ventures
HISTORICAL01180    HISTORICAL01180   Letter from US Attorney to Neal Kirkpatrick dated 9/25/96
HISTORICAL01181    HISTORICAL01191   Subpoena to American Bank & Trust dated 4/7/98
HISTORICAL01192    HISTORICAL01195   Subpoena to Bristol Aviation Serv. Dated 4/7/98
HISTORICAL01196    HISTORICAL01197   Subpoena to Southwestern Bell Telephone Co. dated 4/7/98
HISTORICAL01198    HISTORICAL01199   Subpoena to Flight Management dated 5/5/98
HISTORICAL01200    HISTORICAL01201   Subpoena to Southwestern Bell Telephone Co. dated 5/5/98
HISTORICAL01202    HISTORICAL01204   Subpoena to AT&T Wireless dated 5/5/98
HISTORICAL01205    HISTORICAL01206   Subpoena to Double D Investments dated 5/5/98
HISTORICAL01207    HISTORICAL01209   Subpoena to MCI Communication dated 4/7/98
HISTORICAL01210    HISTORICAL01212   Subpoena to AT&T Management Center dated 4/7/98
HISTORICAL01213    HISTORICAL0218    Subpoena to Boatsman's Bank of Southern Missouri dated 3/3/98
HISTORICAL01219    HISTORICAL01224   Subpoena to American Bank & Trust dated 3/3/98
HISTORICAL01225    HISTORICAL01230   Subpoena to First National Bank of Central Illinois dated 3/3/98
HISTORICAL012131   HISTORICAL01233   Subpoena to Southwestern Bell Telephone Co. dated 3/3/98
HISTORICAL01234    HISTORICAL01238   Subpoena to Boatsman's Bank of Southern Missouri dated 3/3/98
HISTORICAL01239    HISTORICAL01243   Subpoena to American Bank & Trust dated 3/3/98
HISTORICAL01244    HISTORICAL01248   Subpoena to First National Bank of Central Illinois dated 3/3/98
HISTORICAL01249    HISTORICAL01256   Fax from Neal Kirkpatrick to Ann Becker dated 2/19/98 with WestLaw
                                     case for SEC v. The Infinity Group
HISTORICAL01257    HISTORICAL01277   Court documents from cases between Lindsey Springer v. the Infinity
                                     Group
HISTORICAL01278    HISTORICAL01279   Letter from the Infinity Group to Investors advising the decision of the
                                     court cases
HISTORICAL01280    HISTORICAL01301   Court document from case between Lindsey Springer vs The Infinity
                                     Group
HISTORICAL01302    HISTORICAL01315   Court document from case between SEC vs The Infinity Group &
                                     Futures Holding Co.
HISTORICAL01316    HISTORICAL01360   Ledger of client names, join dates, districts and partial addresses
HISTORICAL01361    HISTORICAL01368   Declaration of Lindsey Springer
HISTORICAL01369    HISTORICAL01372   Fax from Dillworth, Paxton law firm to judge dated 3/12/98
HISTORICAL01373    HISTORICAL01393   Fax to Lindsey with copies of Order and other court documents
HISTORICAL01393    HISTORICAL01418   Court documents from cases between Lindsey Springer v. the Infinity
                                     Group
HISTORICAL01419    HISTORICAL01439   Letter from Darrell Downs to Court with multiple court documents
HISTORICAL01440    HISTORICAL01447   Fax from Kara Rheads from US Marshall Serv., Warrant Squad To Terri
                                     Swann with Order for civil contempt
HISTORICAL01448    HISTORICAL01465   Fax from Patti Addler to Kathy Becker with Indictment
HISTORICAL01466    HISTORICAL01468   Letter from First National Bank dated 3/12/98 to IRS to include
                                     Currency Transaction Report and cashier check
HISTORICAL01469    HISTORICAL01485   Subpoena for First National Bank of Central Illinois dated 3/3/98
HISTORICAL01486    HISTORICAL01499   Various articles
HISTORICAL01500    HISTORICAL01500   Letter from the Infinity Group, Geof Benson to Lindsey dated 5/12/07

HISTORICAL01501    HISTORICAL01506   Letter from SEC to The Infinity Group dated 5/5/97 with Subpoena
                                     Duces Tecum
HISTORICAL01507    HISTORICAL01508   Letters from Geof Benson to Lindsey dated regarding larges sums of
                                     money for contributions/donations


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HISTORICAL01509   HISTORICAL01514   Different news articles
HISTORICAL01515   HISTORICAL01515   List of checks made out to Lindsey Springer/d/b/a Bondage Ministries
                                    and the account number
HISTORICAL01516   HISTORICAL01518   Fax cover sheet for Nations Bank for wire transfers with copies of
                                    checks
HISTORICAL01519   HISTORICAL01520   Currency Transaction Report with Fax Cover Sheet dated 8/29/97
HISTORICAL01521   HISTORICAL01521   Letter from SEC to Kathy Beckner dated 1/21/98
HISTORICAL01522   HISTORICAL01522   Letter from Ohio Department of Commerce to IRS dated 1/14/98
HISTORICAL01523   HISTORICAL01526   Letters from The Infinity Grp. to Lindsey Springer
HISTORICAL01527   HISTORICAL01528   Wire transfer cover sheet for Federal Home Loan Bank for $40,000.
                                    dated 5/30/97
HISTORICAL01529   HISTORICAL01529   Letter from the Infinity Group to Lindsey Springer dated 6/5/97
HISTORICAL01530   HISTORICAL01530   Letter to Calvary Pentecostal Church from Geof Benson dated 7/8/97
                                    discussing a check for $69,750. from the proceeds of a Grant from
                                    TIGC trust being enclosed.
HISTORICAL01531   HISTORICAL01531   Letter from Geof Benson to Lindsey/Bondage Ministries discussing a
                                    check for $100,000. for his ministry was enclosed.
HISTORICAL01532   HISTORICAL01532   Wire transfer cover sheet for Nations Bank
HISTORICAL01533   HISTORICAL01535   Letters from Geoff to Lindsey Springer
HISTORICAL01536   HISTORICAL01538   Orders in the case of The Infinity Group vs US
HISTORICAL01539   HISTORICAL01545   Letter from SEC to The Infinity Group dated 7/10/97 with a copy of 2nd
                                    Subpoena Duces Tecum
HISTORICAL01546   HISTORICAL01562   Transcription for Bondage Breakers Ministries dated 8/31/96
HISTORICAL01563   HISTORICAL01592   Subpoena for Jackie Cooper Imports dated 1/6/98 with attachments of
                                    checks, car sale documents
HISTORICAL01593   HISTORICAL01602   IRS Receipt of Document form with attachments from John Hausam
                                    Realtors
HISTORICAL01602   HISTORICAL01608   Petition for Divorce
HISTORICAL01609   HISTORICAL01612   Affidavit of Uniform Child Jurisdiction Act
HISTORICAL01613   HISTORICAL01626   Various Warranty and Sheriff Deeds with attachments
HISTORICAL01627   HISTORICAL01631   Letter from Robert Watkins to Michael O'Brien, IRS dated 6/3/07
                                    regarding $2,000. sanction against Lindsey Springer with attached
                                    Order
HISTORICAL01632   HISTORICAL01637   Fax from Beckner, IRS to Fatine, USAO regarding information needed
                                    for Grand Jury Subpoena for target, Dennis Dazey
HISTORICAL01638   HISTORICAL01638   Fax from Susan Morgan to Reuben Davis dated 5.9/97
HISTORICAL01639   HISTORICAL01666   Various Court documents for Springer v. US
HISTORICAL01667   HISTORICAL01774   Subpoena for Nations Bank dated 1/6/98 with attachments of bank
                                    documents and checks
HISTORICAL01775   HISTORICAL01851   Subpoena for American Bank & Trust
HISTORICAL01852   HISTORICAL01852   Lindsey Springer's driver's record
HISTORICAL01853   HISTORICAL01858   Letters from the IRS to Dept. of Public Safety
HISTORICAL01859   HISTORICAL01861   Copies of selected pages of IRS code
HISTORICAL01862   HISTORICAL01863   Memo documenting a anonymous telephone call regarding Lindsey
                                    Springer and other key individuals of tax protestors
HISTORICAL01864   HISTORICAL01872   IRS Criminal Investigation Item form with attached Return/Transcript
                                    Request forms
HISTORICAL01873   HISTORICAL01877   Subpoena for American Bank & Trust dated 9/5/95
HISTORICAL01878   HISTORICAL01882   Subpoena for Triad Bank dated 9/5/95
HISTORICAL01883   HISTORICAL01887   Subpoena for American National Bank & Trust dated 9/5/95
HISTORICAL01888   HISTORICAL01890   1989 Tax Return forms




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HISTORICAL08191   HISTORICAL01917   Subpoena for American National Bank & Trust dated 9/5/95 with
                                    attached bank documents and checks
HISTORICAL01918   HISTORICAL01926   Letter from IRS CI to IRS Detroit Computer Center requesting currency
                                    transaction reports with attached reports
HISTORICAL01927   HISTORICAL01927   Letter from John Russell, AUSA to George Fields dated 8/8/95
                                    regarding Violations of Title 31 and False Statements
HISTORICAL01928   HISTORICAL01929   Letter from Steven Lewis, AUSA to George Fields regarding Bankruptcy
                                    Fraud and False Statements
HISTORICAL01930   HISTORICAL01951   Currency Transaction Reports for Lindsey Springer
HISTORICAL01952   HISTORICAL01957   Checks Cashed forms for Lindsey Springer with attached ledger of
                                    checks cashed
HISTORICAL01958   HISTORICAL01962   Checks Cashed forms for Barbara Springer with attached ledger of
                                    checks cashed and copies of checks
HISTORICAL01963   HISTORICAL01976   IRS queries for Barbara Sparks
HISTORICAL01977   HISTORICAL01977   Facts Relative to Jerry Springer
HISTORICAL01978   HISTORICAL01978   Analysis of Payments made by Lindsey Springer
HISTORICAL01980   HISTORICAL01981   Referral of Title 31 Violation for Lindsey Springer
HISTORICAL01982   HISTORICAL01982   Examination Information Sheet for Barbara Sparks
HISTORICAL01983   HISTORICAL01984   Checks Cashed form with attached ledger of checks cashed for
                                    Barbara Sparks
HISTORICAL01985   HISTORICAL01994   Various Triad Bank Cashier Checks for or from Barbara Sparks
HISTORICAL01995   HISTORICAL01995   Anchor National Life Insurance check to Barbara Sparks
HISTORICAL01996   HISTORICAL01996   Analysis of Payments made by Lindsey Springer
HISTORICAL01997   HISTORICAL02008   Documentation regarding purchase of bus by Lindsey Springer
HISTORICAL02009   HISTORICAL02009   Money Order log for Sparks
HISTORICAL02010   HISTORICAL02013   Copy of money order for $3,000 and envelope to Bobby King
HISTORICAL02014   HISTORICAL02014   One Dollar Bill
HISTORICAL02015   HISTORICAL02015   Letter from Don Nickles, US Senator to Lindsey Springer dated 6/27/96

HISTORICAL02016   HISTORICAL02020   Copies of various statues from books
HISTORICAL02021   HISTORICAL02024   Copy of Brief in Bernard Schmidt vs IRS
HISTORICAL02025   HISTORICAL02025   Letter from Erlyn Mattley to IRS dated 12/15/95
HISTORICAL02026   HISTORICAL02027   Letter from IRS to Erlyn Mattley dated 3/4/96
HISTORICAL02028   HISTORICAL02061   Copies of statutes, pages from Blacks Law Dictionary and other
                                    explanatory material
HISTORICAL02062   HISTORICAL02068   1994 Income Tax Regulations
HISTORICAL02069   HISTORICAL02069   Letter from the IRS to Jenny Foster dated 12/9/97
HISTORICAL02070   HISTORICAL02071   Pages from the Internal Revenue Code
HISTORICAL02072   HISTORICAL02074   Fax from Lindsey Springer to Stephen Smith dated 1/20/98 regarding
                                    the Federal Reserve Act
HISTORICAL02075   HISTORICAL02077   Letter from the Federal Reserve Bank of PA to Lindsey Springer dated
                                    2/19/98
HISTORICAL02078   HISTORICAL02079   Copy of case from Federal Reporter- Mobley Milam vs US
HISTORICAL02080   HISTORICAL02080   Letter from IRS to Jenny Foster dated 12/9/97 regarding assignments of
                                    EIN#s
HISTORICAL02081   HISTORICAL02082   Pages copies from IRS Code
HISTORICAL02083   HISTORICAL02084   Copy of case from Federal Reporter- Mobley Milam vs US
HISTORICAL02085   HISTORICAL02093   Motions by Dept. of Treasury & Federal Reserve Bank in the case of
                                    Gary Goldman vs. Dept. of Treasury et al.
HISTORICAL02094   HISTORICAL02094   Declaration of Russell Munk
HISTORICAL02095   HISTORICAL02096   Letter from the Dept. of Treasury to Jenny Foster dated 12/9/97
HISTORICAL02097   HISTORICAL02098   Letter from the Dept. of Treasury to Jenny Foster dated 8/21/96


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HISTORICAL02099   HISTORICAL02100   Preliminary Case Management Order in the case of Lindsey Springer vs
                                    IRS
HISTORICAL02101   HISTORICAL02251   Bondage Breakers packet "Economic Reality" which includes several
                                    enclosures of various letters, statues, opinion of the Courts
HISTORICAL02252   HISTORICAL02254   pages from the 2001 National Operations Annual Report off of Google
                                    Cache
HISTORICAL02255   HISTORICAL02257   Cash Payment Received in Trade or Business report
HISTORICAL02258   HISTORICAL02285   Currency Transaction Report
HISTORICAL02286   HISTORICAL02295   Article from Treasury website
HISTORICAL02296   HISTORICAL02314   Various articles from various websites
HISTORICAL02315   HISTORICAL02315   Letter from Patrick Chesley to Neal Kirkpatrick dated10/29/96 regarding
                                    enclosed tapes
HISTORICAL02316   HISTORICAL02317   Letter from James Lang to Kathy Beckner dated 3/10/2000 regarding
                                    enclosed tapes pursuant to plea agreement
HISTORICAL02318   HISTORICAL02319   Quit Claim Deed between Daniel Walter and Robert Craft dated May19,
                                    1995
HISTORICAL02320   HISTORICAL02323   Notice of Tax Resale
HISTORICAL02324   HISTORICAL02327   Letters from James Lang to Neal Kirkpatrick
HISTORICAL02328   HISTORICAL02358   National Comprehensive Report for Lindsey Springer
HISTORICAL02359   HISTORICAL02366   Query off of GPGov for Lindsey Springer
HISTORICAL02367   HISTORICAL02367   Property report for Renee & Lee Douglas
HISTORICAL02368   HISTORICAL02376   Query from County Clerk Instrument System for Lindsey Springer
HISTORICAL02377   HISTORICAL02378   Docket Entry for Lindsey vs Commissioner of Internal Revenue
HISTORICAL02379   HISTORICAL02384   US Securities Exchange Commission Litigation Release
HISTORICAL02385   HISTORICAL02406   Judgment and Liens Report
HISTORICAL02407   HISTORICAL02419   Various articles
HISTORICAL02420   HISTORICAL02429   Cash Payment Received in Trade or Business report
HISTORICAL02430   HISTORICAL02433   Court document regarding Grand Jury Subpoena on New Life Health
                                    Center Company
HISTORICAL02434   HISTORICAL02434   Email regarding Lindsey' new website
HISTORICAL02435   HISTORICAL02437   Litigation Release article on SEC v. Geoffrey Benson et al
HISTORICAL02438   HISTORICAL02439   Order & Judgment in Springer v Infinity Group
HISTORICAL02440   HISTORICAL02443   copy of "2000 UPDATE"
HISTORICAL02444   HISTORICAL02447   E-mail from ICE titled "Fifth Amendment v Tax Returns"
HISTORICAL02448   HISTORICAL02449   Email from ICE titled "Lindsey Springer/Fifth Amendment Issues
HISTORICAL02450   HISTORICAL02452   Litigation Release article on SEC v. Nancy Cheal, et al
HISTORICAL02453   HISTORICAL02475   Various articles from quatloos.com
HISTORICAL02476   HISTORICAL02496   Dr. Phil Roberts' Arraignment transcript
HISTORICAL02497   HISTORICAL02499   Article regarding acquittal of Harrell's tax case
HISTORICAL02500   HISTORICAL02503   Email from Reality Expander.com regarding Harrell's tax case
HISTORICAL02504   HISTORICAL02506   Order & Judgment in Vicki Balough, et al
HISTORICAL02507   HISTORICAL02508   Scotusblog from Goldstein & Howe, P.C. titled "Conservative Civil
                                    Rights
HISTORICAL02509   HISTORICAL02510   Letter to Jim regarding the Fifth Amendment Argument
HISTORICAL02511   HISTORICAL02513   Discontinued Investigation Report on Lindsey Springer
HISTORICAL02514   HISTORICAL02516   IRS Memo from Kathy Beckner regarding investigation evaluation for
                                    Lindsey Springer
HISTORICAL02517   HISTORICAL02520   IRS Chief Counsel memo to CI Chief regarding Lindsey Springer
HISTORICAL02521   HISTORICAL02521   LDC Referral Sheet
HISTORICAL02522   HISTORICAL02523   Individual Compliance Transaction
HISTORICAL02524   HISTORICAL02524   Clip from a letter by Carleton Knechtel regarding Hearsay under the
                                    Federal Rules of Evidence


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HISTORICAL02525    HISTORICAL02525   Examination Information Sheet for Larry Springer/Bondage Breakers

HISTORICAL02526    HISTORICAL02552   Individual Compliance Transactions
HISTORICAL02553    HISTORICAL02581   Currency Transaction Reports
HISTORICAL02582    HISTORICAL02586   Fax from Sherry Gottschalk to Kris Roberson of copies of checks
                                     deposited to Double D Investments
HISTORICAL02587    HISTORICAL02589   Court document in Springer vs IRS
HISTORICAL02590    HISTORICAL02591   Memo from Russell Dark to Richard Auby
HISTORICAL02592    HISTORICAL02593   Fax from Sherry Gottschalk to Kris Roberson
HISTORICAL02594    HISTORICAL02594   Examination Information Report for Lindsey Springer
HISTORICAL02595    HISTORICAL02595   Individual Compliance Transaction
HISTORICAL02596    HISTORICAL02618   Currency Transaction Report
HISTORICAL02619    HISTORICAL02636   Choice Point Report for Lindsey Springer
HISTORICAL02637    HISTORICAL02638   Title 31 Compliance Check Suspect Database Report for various
                                     individuals
HISTORICAL02639    HISTORICAL02658   Currency Transactions Reports with attached copy of driver's license
                                     and checks
HISTORICAL02659    HISTORICAL02661   Notes taken by Kathy Beckner, CI
HISTORICAL02662    HISTORICAL02667   People Finder search from Lexis on Lindsey Springer
HISTORICAL02668    HISTORICAL02668   Notes taken on Lindsey Springer
HISTORICAL02669    HISTORICAL02678   Bankruptcy Court document for Double D Investments, Inc.
HISTORICAL02679    HISTORICAL02687   Choice Point Report for Double D Investments
HISTORICAL02688    HISTORICAL02690   Query on Springer
HISTORICAL02691    HISTORICAL02691   Guidstar Search for Bondage Breakers
HISTORICAL02692    HISTORICAL02704   EFN Catalog
HISTORICAL02705    HISTORICAL02708   Notes
HISTORICAL02709    HISTORICAL02710   Query
HISTORICAL02711    HISTORICAL02716   SEP LEAD report
HISTORICAL02717    HISTORICAL02749   Queries on Springer
HISTORICAL02750    HISTORICAL02753   Vouchers of Gross Receipts for Lindsey and Bondage Breakers
HISTORICAL02754    HISTORICAL02758   Currency Transaction Report
HISTORICAL02759    HISTORICAL02760   Examination Information Report
HISTORICAL02761    HISTORICAL02764   Query
HISTORICAL02765    HISTORICAL02770   Examination Information Report with attached queries
HISTORICAL02771    HISTORICAL02780   Choice Point search on Lindsey Springer
HISTORICAL02781    HISTORICAL02835   Currency Transaction Report
HISTORICAL02836    HISTORICAL02841   2000 CBRS Summary
HISTORICAL02842    HISTORICAL02853   Currency Transaction Report
HISTORICAL02854    HISTORICAL02858   2000 CBRS Summary
HISTORICAL02859    HISTORICAL02931   Currency Transaction Report
HISTORICAL02932    HISTORICAL02935   Examination Request form for Lindsey Springer with queries
HISTORICAL02936    HISTORICAL02940   Examination Information Report with attached queries
HISTORICAL02941    HISTORICAL02941   Report of Cash Payments over $10,000. Received in Trade or Business
                                     form for Lindsey Springer
HISTORICAL02942    HISTORICAL02942   Letter from Brad Noe AutoPlex to Lindsey Springer dated 9/21/99
HISTORICAL02943    HISTORICAL02952   Documentation from Brad Noe AutoPlex with copy of receipts
HISTORICAL02953    HISTORICAL02966   Payor/Payee Report
HISTORICAL02967    HISTORICAL02969   Checks Cashed form for Lindsey and list of checks cashed
HISTRORICAL02970   HISTORICAL02973   Agent Cash report with copies of Western Union Money Transfers
HISTORICAL02974    HISTORICAL03215   Copies of checks written to Lindsey & Regina Springer & Bondage
                                     Breakers




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HISTORICAL03216    HISTORICAL03218   Currency Transaction Report with check for $10,000. written to Lindsey
                                     Springer from The Infinity Grp.
HISTORICAL03219    HISTORICAL03220   Letter from IRS to Checks Casher dated 7/29/97
HISTORICAL03221    HISTORICAL03356   Currency Transaction Reports with copies of checks
HISTORICAL03357    HISTORICAL03365   Arrest Warrant with supporting documentation
HISTORICAL03366    HISTORICAL03367   Motion to Suppress Statements in the case of State of Oklahoma vs
                                     Lindsey Springer
HISTORICAL03368    HISTORICAL03372   Agreement for Restitution for Bogus Check for Lindsey Springer
HISTORICAL03373    HISTORICAL03374   Time Pay Order
HISTORICAL03375    HISTORICAL03378   Record of Plea for Lindsey Springer and Judgment
HISTORICAL03379    HISTORICAL03380   Restitution Schedule
HISTORICAL03381    HISTORICAL03382   Criminal Action Docket in State of Oklahoma vs Lindsey Springer
HISTRORICAL03383   HISTORICAL03564   Pages from the Constitution Common Law Trust book
HISTORICAL03565    HISTORICAL03565   Address written on piece of paper
HISTORICAL03566    HISTORICAL03566   Flyer titled "What the Big Boys Do"
HISTORICAL03567    HISTORICAL03567   Customer Service Survey form from Office of Forensics Science &
                                     Support
HISTORICAL03568    HISTORICAL03569   Request for Services form from Office of Forensic Science for Lindsey
                                     Springer
HISTORICAL03570    HISTORICAL04785   Chain of Custody form from the Cincinnati Data Input Center with
                                     cellular phone lists
HISTORICAL04786    HISTORICAL04787   Memo from James Neff to Jacqueline Collins dated 8/21/03
HISTORICAL04888    HISTORICAL04788   Six Way Conference Procedures
HISTORICAL04789    HISTORICAL04789   6700 Project Guidelines
HISTORICAL04790    HISTORICAL04804   Memo from Richard Jones to Mark Jaramillo dated 7/2/03 with
                                     attachments
MEADORS00001       MEADORS00001      Memo from Mary Murphy to Brian Shern dated 8/23/05
MEADORS00002       MEADORS00002      Memo from Brenda Popma , IRS Estate Tax Attorney to Kevin
                                     McCarthy dated 9/11/03 regarding Lindsey Springer
MEADORS00003       MEADORS00003      Memo from Mark Jaramillo to David Williamson dated 8/26/03
                                     regarding §6700 investigation on Lindsey Springer
MEADORS00004       MEADORS00004      Memo from Mark Jaramillo to PSP Support Manager regarding §6700
                                     investigation on Lindsey Springer
MEADORS00005       MEADORS00008      Memo from Rick Jones to Mark Jaramillo 8/18/03 regarding §6700/6701
                                     investigation on Lindsey Springer
MEADORS00009       MEADORS00009      Revenue Agent Processing Checklist
MEADORS00010       MEADORS00011      Investigation History report on Lindsey Springer
MEADORS00012       MEADORS00012      Memo from Judy King/Anita Alba to Lynn Brummelen dated 8/1/03
MEADORS00013       MEADORS00013      Memo from Judy King/Anita Alba to Mary Muell dated 7/26/03
MEADORS00014       MEADORS00014      E-mail from Lynn Brummelen to Jones Richard dated 7/8/03
MEADORS00015       MEADORS00016      LDC Referral Sheet submitted by Kris Roberson
MEADORS00017       MEADORS00017      E-mail from Kristine Roberson to LDC dated 2/13/03
MEADORS00018       MEADORS00018      E-mail from Thomas Concannon to LDC dated 3/6/03 9:23 am
MEADORS00019       MEADORS00019      E-mail from Thomas Concannon to LDC dated 3/6/03 7:55 am
MEADORS00020       MEADORS00020      Ranking/Classification Criteria form for Lindsey Springer
MEADORS00021       MEADORS00021      Memo from Mark Jaramillo to Kevin McCarthy dated 10/14/03 regarding
                                     Lindsey Springer investigation
MEADORS00022       MEADORS00043      Currency Transaction Report
MEADORS00044       MEADORS00044      Letter from Erika Dertien to Donna Meadors dated 11/1/04
MEADORS00045       MEADORS00045      Letter from Salvatore Pizzino, D.D.S. to Donna Meadors dated 11/11/04

MEADORS00046       MEADORS00048      Letter from Michael Burt to Donna Meadors dated 11/5/04


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MEADORS00049    MEADORS00049     Letter from Sam Palmer to Donna Meadors dated 10/20/04
MEADORS00050    MEADORS00050     Last page of a letter from Donna Meadors
MEADORS00051    MEADORS00051     Letter from Department of Treasury to Dr. Phillip Roberts dated
                                 10/13/04
MEADORS00052    MEADORS00052     Letter from Guy Francis to Donna Meadors dated 10/22/04
MEADORS00053    MEADORS00053     Letter from Larry Simmons to Donna Meadors dated 10/20/04
MEADORS00054    MEADORS00054     Letter from Kathryn Stumpo to Donna Meadors dated 10/22/04
MEADORS00055    MEADORS00058     List of contact names and addresses for Springer
MEADORS00059    MEADORS00063     CBRS Summaries
MEADORS00064    MEADORS00064     Examination Information Report
MEADORS00065    MEADORS00125     Currency Transaction Reports with copies of checks
MEADORS00126    MEADORS00128     Letter from Michael Burt to Donna Meadors dated 11/5/04
MEADORS00129    MEADORS00129     Letter from Salvatore Pizzino, D.D.S. to Donna Meadors dated 11/11/04

MEADORS00130    MEADORS00130     Letter from Erika Dertien to Donna Meadors dated 11/1/04
MEADORS00131    MEADORS00131     Letter from Sam Palmer to Donna Meadors dated 10/20/04
MEADORS00132    MEADORS00132     Last page of a letter from Donna Meadors
MEADORS00133    MEADORS00133     Letter from Department of Treasury to Dr. Phillip Roberts dated
                                 10/13/04
MEADORS00134    MEADORS00134     Letter from Guy Francis to Donna Meadors dated 10/22/04
MEADORS00135    MEADORS00135     Letter from Larry Simmons to Donna Meadors dated 10/20/04
MEADORS00136    MEADORS00136     Letter from Kathryn Stumpo to Donna Meadors dated 10/22/04
MEADORS00137    MEADORS00137     Letter from Russell Young to Donna Meadors dated10/25/04
MEADORS00138    MEADORS00140     Contact Names & Addresses taken from Checks Cashed for Lindsey
                                 Springer
MEADORS00141    MEADORS00145     Fax from Sherry Gottchalk to Kris Roberson dated 7/3/01 with copies of
                                 checks
MOI00001        MOI00003         Memorandum of Contact of John Aldridge dated 3/16/98
MOI00004        MOI00008         MOI of Tiffini Berman & Wand Cole dated 3/3/06
MOI00009        MOI00014         MOI of Patrick Bogan dated 7/29/05 regarding Patrick Bogan
MOI00015        MOI00016         Memorandum Walter Bolthouse dated 4/26/07
MOI00017        MOI00018         Memorandum of Conversation with Ed Bryson dated 1/29/07
MOI00019        MOI00202         MOI of Regina Carlson dated 9/11/07
MOI00023        MOI00024         MOI of Brian Shern dated 10/28/05
MOI00025        MOI00028         MOI of Marcus Coker dated 10/4/06
MOI00029        MOI00031         MOI of Jeanne Davenport dated 4/19/07
MOI00032        MOI00033         Memorandum of Conversation with Kenny Delozier dated 5/7/07
MO0I0034        MOI00036         MOI of Brian DiMercurio dated 10/23/06
MO0I0037        MOI00041         MOI of Martin Digman dated 12/13/06
MOI00042        MOI00044         Memorandum of Conversation with Shannon Dowdy dated 4/17/06
MOI00045        MOI00046         MOI of Thelma Eidson dated 7/29/98
MOI00047        MOI00048         MOI of Conversaton with Guy Francis dated 9/5/07
MOI00049        MOI00050         Memorandum of Conversation with Geisendorfer dated 4/11/07
MOI00051        MO0I0054         MOI of Shane Grade dated 12/14/06
MOI00055        MOI00056         MOI of Linda & Brian Greenshaw dated 6/29/98
MOI00057        MOI00058         Memorandum of Contact with Tom Hardgrave dated 10/8/98
MOI00059        MOI00060         Memorandum of Contact with Steve Hartgrave dated 1/14/98
MOI00061        MOI00063         MOI of Arthur Hawkins dated 2/16/06
MOI00064        MOI00065         MOI of Arthur Hawkins dated 5/2/06
MOI00066        MOI00069         MOI of Cynthia Hawkins dated 5/3/06
MOI00070        MOI00072         MOI of Dale Halberg dated 12/19/07
MOI00073        MOI00074         Memorandum of Conversation with Dale Hedberg dated 1/3/08


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MO0I0075        MOI00077         MOI of Cynthia Hess dated 4/14/03
MOI00078        MOI00079         Memorandum of Conversation with Cynthia Hess dated 4/22/08
MOI00080        MOI00082         Memorandum of Conversation with Barbara Hodsden dated 3/12/08
MOI00083        MOI00084         MOI of Denice Holm dated 3/2/07
MOI00085        MOI00085         Memorandum of Contact with Brenda Jones dated 9/2/97
MOI00086        MOI00088         Memorandum of Conversation with James Lake dated 12/1/05
MOI00089        MOI00090         Memorandum of Conversation with James Lake dated 12/22/05
MOI00091        MOI00093         MOI of Ralph Lewis dated 5/1/08
MOI00094        MOI00096         Memorandum of Conversation with Larry Logsdon dated 4/10/07
MOI00097        MO00098          Memorandum of Conversation with Charles Looney dated 4/5/07
MOI00099        MOI00101         MOI of Candice Moore dated 8/16/05
MOI00102        MOI00103         MOI of W.T. Moore dated 12/7/06
MOI00104        MOI00105         Memorandum of Conversation with Steve McBride dated 1/18/07
MOI00106        MOI00107         Memorandum of Activity of Jeanne McCarty dated 9/26/06
MOI00108        MOI00109         MOI of Jeanne McCarty dated 10/6/06
MOI00110        MOI00111         MOI of Allen McElwain dated 4/30/98
MOI00112        MOI00115         MOI of Kindra & Ryan Orsburn dated 10/4/06
MOI00116        MOI00117         MOI of Andrew Ouwenga dated 2/15/06
MOI00118        MOI00120         MOI of Ann Palmer dated 4/16/07
MOI00121        MOI00122         Memorandum of Conversation with Sam Palmer dated 4/10/07
MOI00123        MOI00124         Memorandum of Activity of Eddy Patterson dated 5/7/03
MOI00125        MOI00129         MOI of Eddy Patterson dated 5/6/04
MOI00130        MOI00134         MOI of Sam Phillips dated 8/1/05
MOI00135        MOI00136         Memorandum of Contact with Rick Pizzo dated 8/22/97
MOI00137        MOI00138         Memorandum of Contact with Rick Pizzo dated 2/13/98
MOI00139        MOI00139         Memorandum of Contact with Rick Pizzo dated 5/28/98
MOI00140        MOI00142         MOI of Alan Richey dated 1/9/07
MOI00143        MOI00146         MOI of Philip Roberts dated 3/7/06
MOI00147        MOI00149         MOI of Monica Roskum dated 6/26/97
MOI0050         MOI00151         Memorandum of Conversation with Larry Simmons dated 4/11/07
MOI00152        MOI00153         MOI of W.T. Smith dated 12/7/05
MOI00154        MOI00155         Memorandum of Conversation with Sam Snyder dated 12/17/08
MOI00156        MOI00157         Memorandum of Conversation with Jeanie Springer dated 9/16/05
MOI00158        MOI00159         MOI of Jeanie Springer dated 9/16/05
MOI 00160       MOI00161         MOI of Jeanie Springer dated 9/16/05
MOI00162        MOI00169         MOI of Lindsey Springer dated 9/16/05
MOI00170        MOI00172         Memorandum of Conversaton with Lindsey Springer dated 9/19/05
MOI00173        MOI00174         Memorandum of Activity & Conversation with Lindsey & Jeanie Springer
                                 dated 9/19/05
MOI00175        MOI00176         Memorandum of Conversation with Lindsey Springer dated 9/21/05
MOI00177        MOI00179         Memorandum of Activity of Lindsey Springer dated 1/10/06
MOI00180        MOI00181         Memorandum of Conversation with Lindsey Springer dated 11/13/06
MOI00182        MOI00184         MOI of Oscar Stilley dated 1/20/06
MOI00185        MOI00186         Memorandum of Contact with Oscar Stilley dated 12/21/06
MOI00187        MOI00188         Memorandum of Contact with Oscar Stilley dated 12/22/06
MOI00189        MOI00189         Memorandum of Contact with Oscar Stilley dated 1/24/07
MOI00190        MOI00192         Memorandum of Conversation with Ernie Swisher dated 3/14/08
MOI00192        MOI00194         MOI of Patrick Turner dated 10/25/06
MOI00195        MOI00196         Memorandum of Conversation with Patrick Turner dated 11/7/08
MOI00197        MOI00199         MOI of Monica Roskum dated 6/26/97
MOI00200        MOI00202         MOI of Cara & Otto Westerfeld dated 8/28/07
MOI00203        MOI00205         Memorandum of Conversation with Vikki Wiggins dated 2/1/07


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MOI00206         MOI00208         MOI of Vikki Wiggins dated 2/23/07
MOI00209         MOI00210         Memorandum of Conversation with Ronald Young dated 3/16/07
OTHER00001       OTHER00014       Pictures of houses
OTHER00015       OTHER00048       Court documents in case of Lindsey Springer vs Cara Springer
OTHER00049       OTHER00064       Court documents in case of Lindsey Springer vs Regina Smith
OTHER00065       OTHER00066       Letter from Family & Children's Serv. To Tulsa Court Clerk regarding
                                  Regina Smith & Lindsey Springer attending a seminar for children
                                  coping with divorce
OTHER 00067      OTHER00072       Divorce Decree
OTHER00073       OTHER00101       Mortgage Information Request form from John Hausam Realtors dated
                                  6/10/96 with attached closing documents
OTHER 00102      OTHER00121       IFC Trust Control Number Listing
OTHER00122       OTHER00129       Leasing agreement documents for a 2001 FRHT for Lindsey & Jeanie
                                  Springer
OTHER00130       OTHER00135       Article titled "The Ernie Swisher Story"
OTHER00136       OTHER00136       Summons for Wanda Cole
OTHER00137       OTHER00147       Court documents in the case of Tiffany Matthews, Wanda Cole and
                                  Shannon Dowdy
OTHER00148       OTHER00151       Newspaper articles
OTHER00152       OTHER0154        Letter from Jane Cowdery to Wanda Cole dated 10/24/03 with attached
                                  affidavit
OTHER00155       OTHER00155       Letter from Lindsey Springer to Mark Smiling
OTHER00156       OTHER00157       Tiffini Matthews business card with writings on it
OTHER00158       OTHER00158       Letter from Jane Cowdery to Wanda Cole dated 1/19/04
OTHER00159       OTHER00199       Court documents in the case of Tiffany Matthews, Wanda Cole and
                                  Shannon Dowdy
OTHER00200       OTHER00200       Store search of Saks
OTHER00201       OTHER00201       Letter from Jane Cowdery to Wanda Cole dated 9/16/04
OTHER00202       OTHER00203       Motion to Dismiss in the case of Lindsey Springer vs Tiffany Matthews,
                                  Wanda Cole, Shannon Dowdy and Sak's Fifth Avenue
OTHER00204       OTHER00204       ORDER
OTHER00205       OTHER00206       Letter from Mark Smiling to Wanda Cole dated 8/8/04
OTHER00207       OTHER00207       Letter from Mark Smiling to Wanda Cole & Tiffini Matthews dated
                                  4/14/04
OTHER00208       OTHER00209       Letter from Mark Smiling to Lindsey Springer dated 4/14/04
OTHER00210       OTHER00210       Letter from Jane Cowdery to Wanda Cole dated 3/17/04
OTHER00211       OTHER00211       Letter from Jane Cowdery to Wanda Cole dated 2/13/04
OTHER00212       OTHER00212       Court Minutes dated 2/6/04
PATTERSON00001   PATTERSON00001   Memo from Eddy Patterson to Lindsey Springer dated 3/17/00
PATTERSON00002   PATTERSON00002   Memo to Eddy Patterson dated 3/16/00 regarding retainer fee for
                                  Counsel
PATTERSON00003   PATTERSON00003   Memo form Eddy Patterson to Jerold Barringer dated 3/17/00
PATTERSON00004   PATTERSON00004   Memo from Eddy Patterson to Oscar Stilley dated 3/17/00
PATTERSON00005   PATTERSON00005   Memo from Eddy Patterson to Lindsey Springer dated 3/16/00
PATTERSON00006   PATTERSON00006   Memo form Eddy Patterson to Lindsey dated 8/2/00
PATTERSON00007   PATTERSON00007   Memo from Eddy Patterson to Lindsey Springer dated 8/25/00
PATTERSON00008   PATTERSON00008   Memo from Eddy Patterson to Lindsey Springer dated 9/25/00
PATTERSON00009   PATTERSON00009   Newspaper article about "Woman gets one year for tax evasion
PATTERSON00010   PATTERSON00013   List titled " Description of Services Rendered by Oscar Stilley"
PATTERSON00014   PATTERSON00016   Letter from Oscar Stilley to Scott Putney dated 2/3/01
PATTERSON00017   PATTERSON00017   E-mail from Richard Clark to Eddy Patterson
PATTERSON00018   PATTERSON00018   Memo from Eddy Patterson to Oscar Stilley dated 9/25/00


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PATTERSON00019    PATTERSON00020   Fax cover pages from Eddy to Lindsey dated 8/28/00
PATTERSON00021    PATTERSON00022   Subpoena for Lab One Analytical, Inc. dated 9/5/00
PATTERSON00023    PATTERSON00024   Subpoena for National Environmental Service dated 9/5/00
PATTERSON00025    PATTERSON00026   Subpoena for McCutchan-Patterson dated 9/5/00
PATTERSON00027    PATTERSON00028   Subpoena for DE Enterprises date 9/5/00
PATTERSON00029    PATTERSON00038   Subpoena for Jeffrey Burnes dated 8/1/00 with attached power of
                                   attorney forms
PATTERSON00039    PATTERSON00040   Chart of Nesco taxes by year
PATTERSON00041    PATTERSON00044   Fax from Brody to Lindsey
PATTERSON00045    PATTERSON00046   Fax cover pages from Eddy to Lindsey dated 8/2/00
PATTERSON00047    PATTERSON00047   Fax from Brody to Dick Clark dated 5/10/00
PATTERSON00048    PATTERSON00049   Article titled "The American Sovereign"
PATTERSON00050    PATTERSON00050   Page from Special Agent Handbook
PATTERSON00051    PATTERSON00052   Letter from Oscar Stilley to Tim Arsenault dated 4/11/00
PATTERSON00053    PATTERSON00059   Summons to Bank One Securities Corp with attachments
PATTERSON00060    PATTERSON00060   Letter from Oscar Stilley to Tim Arsenault dated 3/31/00
PATTERSON00061    PATTERSON00061   Letter from Tony Graham to Eddy Patterson dated 3/16/00
PATTERSON00062    PATTERSON00062   Letter from Tony Graham to Eddy Patterson dated 3/16/00
PATTERSON00063    PATTERSON00069   Summons to Bank One with attachments
PATTERSON00070    PATTERSON00080   Summons to Bank One with attached Power of Attorney forms
PATTERSON00081    PATTERSON00086   Fax from Eddy Patterson to Oscar Stilly dated 3/20/00 with attached
                                   Summons to Jeffrey Barnes
PATTERSON00087    PATTERSON00090   Summons to Citizens Bank of Tulsa
PATTERSON00091    PATTERSON00092   National Environmental Service
PATTERSON00093    PATTERSON00094   Summons for Moore Funeral Home
PATTERSON00095    PATTERSON00095   Memo from Eddy Patterson to Oscar Stilley dated 3/20/00
PATTERSON00096    PATTERSON00100   Fax from Eddy Patterson to Tim Arsenault dated 3/20/00
PATTERSON00101    PATTERSON00103   Fax from Eddy Patterson to Oscar Stilley dated 3/20/00 with attached
                                   Power of Attorney
PATTERSON00104    PATTERSON00104   Fax cover sheet from Eddy Patterson to Tim Arsenault dated 3/20/00

PATTERSON00105    PATTERSON00105   Memo from Eddy Patterson to Lindsey Springer dated 3/17/00
PATTERSON00106    PATTERSON00106   Memo from Eddy Patterson to Lindsey Springer dated 3/16/00
PATTERSON00107    PATTERSON00112   Summons for Bank One Trust Co.
PATTERSON00113    PATTERSON00117   Memorandum of Activity for Steve Knorr
PATTERSON00118    PATTERSON00125   Description of Services Rendered by Oscar Stilley
PATTERSON00126    PATTERSON00126   Letter from Oscar Stilley to Eddy & Judith Patterson dated 11/28/00

PATTERSON 00127   PATTERSON00127   Letter from Oscar Stilley to Judith Patterson dated 2/8/01
PATTERSON00128    PATTERSON00131   Letter from Susan Meredith to Moore Funeral Home dated 2/2/01
PATTERSON00132    PATTERSON00135   Description of Services Rendered by Oscar Stilley
PATTERSON00136    PATTERSON00138   Letter from Oscar Stilley to Judge Kern discussing his suspension to
                                   practice law
PATTERSON00139    PATTERSON00145   Court documents regarding GJ Subpoenas to NESCO
PATTERSON00146    PATTERSON00147   Letter from Scott Putney to Oscar Stilley dated 11/17/00
PATTERSON00148    PATTERSON00148   Letter from Scott Putney to Oscar Stilley dated 12/15/00
PATTERSON00149    PATTERSON00156   Testimony of Larry Johnson
PATTERSON00157    PATTERSON00157   Certificate of Service
PATTERSON00158    PATTERSON00160   E-mail from Robert Schultz to Eddy Patterson regarding IRS Walk-A-
                                   Round
PATTERSON00161    PATTERSON00163   Letter from Oscar Stilley to Scott Putney dated 2/16/01
PATTERSON00164    PATTERSON00164   Fax cover sheet from Eddy Patterson to Oscar Stilley dated 2/7/01


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PATTERSON00165   PATTERSON00165      Fax cover sheet from Eddy Patterson to Oscar Stilley dated 2/1/01
PATTERSON00166   PATTERSON00167      Letter from Oscar Stilley to Scott Putney dated 12/22/00
PATTERSON00168   PATTERSON00169      Letter from Oscar Stilley to Scott Putney dated 12/22/00
PATTERSON00170   PATTERSON00171      Letter from Scott Putney to Oscar Stilley dated 1/8/01
PATTERSON00172   PATTERSON00175      Description of Services Rendered by Oscar Stilley
PATTERSON00176   PATTERSON00176      Letter from Thomas Woodward to Oscar Stilley dated 12/15/00
PATTERSON00177   PATTERSON00178      Blank 2001 W-4 form
PATTERSON00179   PATTERSON00180      Subpoena to Moore Funeral Home
PATTERSON00181   PATTERSON00181      Letter requesting additional tax information
PATTERSON00182   PATTERSON00182      Chart of stock activity from StockMaster
PATTERSON00183   PATTERSON00183      Printout of car quote of a Checy Astro
PATTERSON00184   PATTERSON00184      Letter from Oscar Stilley to Scott Putney dated 11/28/00
PATTERSON00185   PATTERSON00186      Subpoena to Robert Watson dated 9/5/00 with attached business card

PATTERSON00187   PATTERSON00187 E-mail from Oscar to Eddy dated 11/27/00
PATTERSON00188   PATTERSON00189 Letter from Steven Lewis to Oscar Stilley dated 11/17/00
PATTERSON00190   PATTERSON00190 Letter from John Crabtree of Billy Graham Evangelistic Assoc. to Tim
                                Arsenault dated 11/20/00
PATTERSON00191   PATTERSON00206 Letter from Rodney Cavet to of International Crusades to Tim Arsenault
                                dated 11/14/00 with attached documentation of payments

PATTERSON00207   PATTERSON00208 Letter from Oscar Stilley to Eddy & Judith Patterson dated 10/9/00 with
                                attached copy of authorization for representation
PATTERSON00209   PATTERSON00213 Court documents regarding GJ Subpoenas to NESCO
PATTERSON00214   PATTERSON00215 Subpoena for National Environmental Service dated 9/5/00
PATTERSON00216   PATTERSON00217 Subpoena for Lab One Analytical, Inc. dated 9/5/00
PATTERSON00218   PATTERSON00219 Subpoena for DE Enterprises date 9/5/00
PATTERSON00220   PATTERSON00222 Subpoena for McCutchan-Patterson dated 9/5/00
PATTERSON00223   PATTERSON00223 Civil Minutes
PATTERSON00224   PATTERSON00240 Court documents regarding GJ Subpoenas to NESCO
PATTERSON00241   PATTERSON00263 Transcript of Proceedings in the case of US vs Philip Roberts
PATTERSON00264   PATTERSON00264 Order Granting Motion for Admission Pro Hac Vice regarding Grand
                                Jury Subpoena to NESCO
PATTERSON00265   PATTERSON00265 Letter from Eddy to Oscar dated 9/25/00
PATTERSON00266   PATTERSON00272 Court documents regarding GJ Subpoenas to NESCO
PATTERSON00273   PATTERSON00272 Summons to National Environmental Services
PATTERSON00273   PATTERSON00278 Summons to Bank One Trust
PATTERSON00279   PATTERSON00280 Summons to Jeffrey Burns
PATTERSON00281   PATTERSON00281 Letter from Eddy Patterson to Tim Arsenault faxed 3/20/00
PATTERSON00282   PATTERSON00282 Letter from Oscar Stilley to Tim Arsenault dated 3/28/00
PATTERSON00283   PATTERSON00283 Letter from Tim Arsenault to Oscar Stilley dated 3/29/00
PATTERSON00284   PATTERSON00284 Letter from Oscar Stilley to Tim Arsenault dated 3/31/00
PATTERSON00285   PATTERSON00286 Letter from Oscar Stilley to Tim Arsenault dated 4/11/00
PATTERSON00287   PATTERSON00288 National Environmental Service date 9/5/00
PATTERSON00289   PATTERSON00290 Subpoena to McCutchen-Patterson dated 9/5/00
PATTERSON00291   PATTERSON00292 Subpoena to Lab One Analytical dated 9/5/00
PATTERSON00293   PATTERSON00293 Subpoena to De Enterprises dated 9/5/00
PATTERSON00294   PATTERSON00299 Amended Petition to Quash Grand Jury Subpoena
PATTERSON00300   PATTERSON00301 Summons for National Environmental Serv.
PATTERSON00302   PATTERSON00305 Summons to Bank One Trust
PATTERSON00306   PATTERSON00307 Summons to Jeffrey Burns
PATTERSON00308   PATTERSON00308 Memo from Eddy Patterson to Tim Arsenault faxed 3/20/00


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PATTERSON00309   PATTERSON00309 Letter from Oscar Stilley to Tim Arsenault dated 3/28/00
PATTERSON00310   PATTERSON00310 Letter from Tim Arsenault to Oscar Stilley dated 3/29/00
PATTERSON00311   PATTERSON00311 Letter from Oscar Stilley to Tim Arsenault dated 3/31/00
PATTERSON00312   PATTERSON00313 Letter from Oscar Stilley to Tim Arsenault dated 4/11/00
PATTERSON00314   PATTERSON00315 Subpoena to National Environmental Service dated 9/5/00
PATTERSON00316   PATTERSON00317 Subpoena to McCutchen-Patterson dated 9/5/00
PATTERSON00318   PATTERSON00319 Subpoena to Lab One Analytical dated 9/5/00
PATTERSON00320   PATTERSON00320 Subpoena to De Enterprises dated 9/5/00
PATTERSON00321   PATTERSON00325 Petition to Quash Grand Jury Subpoena
PATTERSON00326   PATTERSON00336 Fax of various Summons(previously sited above)
PATTERSON00337   PATTERSON00337 Letter from Oscar Stilley to Tim Arsenault dated 3/31/00
PATTERSON00338   PATTERSON00339 Letter from Oscar Stilley to Tim Arsenault dated 4/11/00
PATTERSON00340   PATTERSON00346 Various Subpoenas(previously sited above)
PATTERSON00347   PATTERSON00359 Court documents regarding GJ Subpoenas to NESCO
PATTERSON00360   PATTERSON00367 Various Summons (previously sited above)
PATTERSON00368   PATTERSON00368 Letter from Eddy Patterson to Tim Arsenault faxed 3/20/00
PATTERSON00369   PATTERSON00369 Letter from Oscar Stilley to Tim Arsenault date 3/28/00
PATTERSON00370   PATTERSON00370 Letter from Tim Arsenault to Oscar Stilley dated 3/29/00
PATTERSON00371   PATTERSON00371 Letter from Oscar Stilley to Tim Arsenault dated 3/31/00
PATTERSON00372   PATTERSON00373 Letter from Oscar Stilley to Tim Arsenault date 4/11/00
PATTERSON00374   PATTERSON00380 Various Subpoenas(previously sited above)
PATTERSON00381   PATTERSON00381 Oscar Stilley address written on sheet of paper
PATTERSON00382   PATTERSON00384 Order Confirming Sheriff's Sale in the case of Bank of Oklahoma vs.
                                Eddy Patterson, Judy Patterson and USA
PATTERSON00385   PATTERSON00392 Description of Services Rendered by Oscar Stilley
PATTERSON00393   PATTERSON00398 Court documents regarding Securities Exchange vs Eddy Patterson

PATTERSON00399   PATTERSON00400 Order in the case of USA vs Eddy and Judith Patterson
PATTERSON00401   PATTERSON00401 E-Mail from Larry Aspegren to Eddy Patterson date 2/18/04
PATTERSON00402   PATTERSON00402 E-Mail from Eddy Patterson to Larry Aspegren date 2/17/04
PATTERSON00403   PATTERSON00403 Letter from Pastor, John Bugg to Judge Eagan dated 2/24/04
PATTERSON00404   PATTERSON00406 Fax from Securities Exchange to Oscar Stilley regarding scheduling a
                                Rule 26 Conference
PATTERSON00407   PATTERSON00411 Court documents in the case of Securities Exchange vs Eddy Patterson

PATTERSON00412   PATTERSON00413 E-mail to Larry Aspegren dated 2/13/04
PATTERSON00414   PATTERSON00415 Motion to Dismiss Appeal in the case of US vs Eddy Patterson
PATTERSON00416   PATTERSON00419 Rule 26 Report in the case of Securities Exchange vs Eddy Patterson

PATTERSON00420   PATTERSON00422 Affidavit of Eddy Patterson in the case of US vs Eddy and Judith
                                Patterson
PATTERSON00423   PATTERSON00436 Motion for Recusal of Judge Cook in the case of US vs Eddy and Judith
                                Patterson
PATTERSON00437   PATTERSON00522 Correspondence related to Eddy Patterson's criminal case and civil
                                case involving the SEC
PATTERSON00523   PATTERSON00524 Bill from Cynthia Hess
PATTERSON00525   PATTERSON00532 Correspondence of Eddy Patterson with AUSA Melody Nelson, certified
                                mail receipts
PATTERSON00533   PATTERSON00534 Arrest warrant for Judith Patterson
PATTERSON00535   PATTERSON00574 Indictment of Eddy and Judith Patterson
PATTERSON00575   PATTERSON00648 Various court filings by Oscar Stilley related to Eddy Patterson's criminal
                                case, documents related to the civil case involving NESCO


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PATTERSON00649   PATTERSON00655 Billing statement from Oscar Stilley
PATTERSON00656   PATTERSON00665 Correspondence of Eddy Patterson
PATTERSON00666   PATTERSON00667 E-mail correspondence between Eddy Patterson and Lindsey Springer

PATTERSON00669   PATTERSON00907 Billing statements and related correspondence from Oscar Stilley,
                                Jerold Barringer, and William Widell
PATTERSON00908   PATTERSON01150 Correspondence to and from Eddy Patterson and the IRS,
                                correspondence with Richard Clark, examples of filings and
                                correspondence with the IRS, filings with the State of Oklahoma, tax
                                returns and tax information
PATTERSON01151   PATTERSON01173 Subpoena to Superior Bank, correspondence with attorneys, payment
                                schedules reflecting payments to attorneys, and copies of checks and
                                wire transfers
PATTERSON01174   PATTERSON01175 Articles of Organization for Tulsa Sales & Rental
PATTERSON01176   PATTERSON01367 Correspondence from attorneys, Lindsey Springer, and others regarding
                                Eddy Patterson's criminal case, copies of bank statements and
                                cancelled checks , billing statements from Oscar Stilley, Jerold
                                Barringer, and William Widell
PATTERSON01368   PATTERSON01370 Bill from Cynthia Hess
PATTERSON01371   PATTERSON01372 Letter from Judith Patterson
PATTERSON01373   PATTERSON01385 IRS Forms 895 in the name of Lindsey Springer
PATTERSON01386   PATTERSON01516 Print-outs of court cases involving Lindsey Springer and copies of
                                documents printed from the internet
PATTERSON01517   PATTERSON01670 Information regarding Bondage Breakers Ministries and La Mesa,
                                copies of court case information and letters written by Lindsey Springer,
                                correspondence from Dennis Dazey, checks written from Charlene
                                Reddick to Lindsey Springer for consulting services
PATTERSON01671   PATTERSON01672 Correspondence with Hall Estill
PATTERSON01673   PATTERSON01675 Affidavit of SA Arsenault
PATTERSON01676   PATTERSON01816 Financial Statements, tax returns, worksheets, tax related documents
                                and other financial documents of TSR, including correspondence with
                                Hall Estill
PATTERSON01817   PATTERSON01863 Copies of summons and subpoenas, court filings related to subpoenas,
                                and correspondence between SA Arsenault and Oscar Stilley

PATTERSON01864   PATTERSON01868      E-mail correspondence of Eddy Patterson
PATTERSON01869   PATTERSON01880      Miscellaneous financial records
PATTERSON01881   PATTERSON01881      E-mail correspondence of Eddy Patterson
PATTERSON01882   PATTERSON01882      Letter from Judith Patterson to the IRS
PATTERSON01883   PATTERSON01885      Publication called "The Light", August/September 1999
PATTERSON01886   PATTERSON01916      Documents related to the civil suit of Eddy Patterson against the IRS
                                     and RO Jay Bryce
PATTERSON01917   PATTERSON01919      Memo from SA Benuzzi to SA Arsenault Re: Patterson Computers
PATTERSON01920   PATTERSON01929      Grand Jury Testimony of Eddy Patterson 11/7/00
PATTERSON01930   PATTERSON01952      Case print-out from Westlaw
PATTERSON01953   PATTERSON02031      Copies of mortgage documents, equipment leases, and purchase
                                     contracts for Tulsa Sales & Rental
PATTERSON02032   PATTERSON02113      Grand Jury transcript of Eric Bohne
PATTERSON02114   PATTERSON02891      Trial transcript of Philip Roberts trial
PATTERSON02892   PATTERSON03211      Grand Jury transcripts of witnesses in the Patterson case, transcript of
                                     hearing re: grand jury subpoenas in Patterson
PATTERSON03212   PATTERSON03231      Transcript of show cause hearing in Patterson case


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PATTERSON03232   PATTERSON03265 Various PACER case docket print-outs
PATTERSON03266   PATTERSON03288 Transcript of Philip Roberts Arraignment proceedings
PATTERSON03289   PATTERSON03296 Docket sheet for 96-CV-893, Springer v. USA et al
PATTERSON03297   PATTERSON04522 Trial transcript of Ernest Swisher trial
PATTERSON04523   PATTERSON04525 Fax Cover Letter from AUSA Melody Nelson
PATTERSON04526   PATTERSON04527 FBI 302 of the interview with Robert Sumner
PATTERSON04528   PATTERSON04541 Opinion & Order in Philip Roberts case
PATTERSON04542   PATTERSON04616 Examination by SEC of Miles Alan Key
PATTERSON04617   PATTERSON04734 Documents from the criminal cases of Philip Roberts and Ernest
                                Swisher
PATTERSON04735   PATTERSON04989 Correspondence between the Pattersons and U.S. Probation
PATTERSON04990   PATTERSON05393 Bank records from Citizens Bank, Gold Bank, and Bank of Oklahoma

PATTERSON05372   PATTERSON05394      Check register and miscellaneous documents
PATTERSON05395   PATTERSON05395      Copy of check stub from Moore Funeral Homes to Judy Patterson
PATTERSON05396   PATTERSON05399      Copies of checks to Lindsey Springer and Dick Clark
PATTERSON05400   PATTERSON05658      Various correspondence with IRS and the Oklahoma Tax Commission
                                     and related documents
PATTERSON05659   PATTERSON05659      IRS Form 5914 Release & Receipt of Property
PATTERSON05660   PATTERSON05663      Wall Street Transcript article on Eddy Patterson
PATTERSON05664   PATTERSON05664      Promissory Note with Lab One and Eddy Patterson
PATTERSON05665   PATTERSON05672      Correspondence with Hall Estill
PATTERSON05673   PATTERSON05697      Copies of Passports
PATTERSON05698   PATTERSON05705      AT&T statements for Eddy Patterson
PATTERSON05706   PATTERSON05821      Security Bank statements of Eddy and Judy Patterson
PATTERSON05822   PATTERSON06041      Tax returns, worksheets, and tax related documents of Eddy & Judy
                                     Patterson
PATTERSON06042   PATTERSON06219      Correspondence between Hall Estill and Eddy Patterson related to the
                                     SEC Investigation, other documents related to the SEC investigation

PATTERSON06220   PATTERSON06224 E-mail correspondence of Eddy Patterson
PATTERSON06225   PATTERSON06257 Loan applications and agreements, stock certificates, and statements of
                                assets for Eddy Patterson
PATTERSON06258   PATTERSON06265 SBC & AT&T phone bills and correspondence
PATTERSON06266   PATTERSON06291 Judges Order and Presentence Investigative Report of Judy Patterson

PATTERSON06292   PATTERSON06295 Correspondence between Judy Patterson, Jerold Barringer & Oscar
                                Stilley
PATTERSON06296   PATTERSON06303 Billing Statements from Hall Estill to Eddy Patterson
PATTERSON06304   PATTERSON06636 Tax returns, worksheets, and tax related documents of Eddy & Judy
                                Patterson, including correspondence with Cynthia Hess
PATTERSON06635   PATTERSON06639 American Express Statements of Eddy Patterson
PATTERSON06640   PATTERSON06641 America Online Visa Statements of Eddy Patterson
PATTERSON06642   PATTERSON06652 First USA Mastercard Statements of Eddy Patterson
PATTERSON06653   PATTERSON06659 American Express Statements of Eddy & Judy Patterson
PATTERSON06660   PATTERSON06814 SBC Phone Statements of Eddy Patterson
PATTERSON06815   PATTERSON06824 Billing Statements from Hall Estill to Eddy Patterson
SPRINGER00001    SPRINGER00004  Letter from AUSA Snoke and e-mail correspondence with Lindsey
                                Springer providing him the opportunity to testify before the grand jury

SPRINGER00005    SPRINGER00339       Transcript of the interview with Lindsey Springer conducted on
                                     01/15/2009


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SPRINGER00340   SPRINGER00446       Exhibits relating to the interview with Lindsey Springer conducted on
                                    01/15/2009
SPRINGER00447   SPRINGER00452       Follow-up letter submitted by Lindsey Springer subsequent to the
                                    interview of 01/15/2009
SPRINGER00453   SPRINGER00490       Tax Due & Owing calculations for Lindsey Springer for the years 2000
                                    through 2005 presented as Grand Jury exhibits on March 9, 2009

SPRINGER00491   SPRINGER00532       Documents submitted by Lindsey Springer related to the interview on
                                    01/15/2009
SUBPOENA00001   SUBPOENA00098       Subpoena log, copies of subpoenas, and correspondence maintained
                                    by the U.S. Attorney's Office for the NDOK
SUBPOENA00099   SUBPOENA00099       Response from Bless This Child, Inc. pursuant to subpoena issued
SUBPOENA00100   SUBPOENA00105       Documents received pursuant to subpoena to Brad Noe Autoplex
                                    (except for SUBPOENA00102 which was obtained from Checks
                                    Cashed)
SUBPOENA00106   SUBPOENA00132       Documents received pursuant to subpoena to Bruce Weber Jewelry
SUBPOENA00133   SUBPOENA00138       Documents received pursuant to subpoena to Carter Numismatics
SUBPOENA00139   SUBPOENA00142       Documents received pursuant to subpoena to CC Bill, LLC
SUBPOENA00143   SUBPOENA00153       Documents received pursuant to subpoena to David Gibson, Inc.
SUBPOENA00154   SUBPOENA00165       Documents received pursuant to subpoena to Don Thornton Automotive
                                    Group/Lexus of Tulsa
SUBPOENA00166   SUBPOENA00181       Documents received pursuant to subpoena to Earthlink
SUBPOENA00182   SUBPOENA00189       Documents received pursuant to subpoena to Ebay/Paypal
SUBPOENA00190   SUBPOENA00214       Documents received pursuant to subpoena to Joe Cooper Ford
SUBPOENA00215   SUBPOENA00303       Documents received pursuant to subpoena to Meadowbrook Country
                                    Club
SUBPOENA00304   SUBPOENA00311       Documents received pursuant to subpoena to Metro Builders Supply

SUBPOENA00312   SUBPOENA00326  Documents received pursuant to subpoena to Oklahoma Foreign Auto
                               Sales
SUBPOENA00327   SUBPOENA00348 Documents received pursuant to subpoena to Paycom.net, LLC
SUBPOENA00349   SUBPOENA00353 Documents received pursuant to subpoena to Plasma & Projectors
SUBPOENA00354   SUBPOENA00835 Documents received pursuant to subpoena to TDS Telecom
SUBPOENA00836   SUBPOENA001000 Documents received pursuant to subpoena to Wide Horizons for
                               Children
SW00001         SW00002        IRS evidence bag #2 from box #1 and label describing contents of
                               seized items
SW00003         SW00003        Check from Barbara Coolman to Bondage Breakers Ministries
SW00004         SW00004        Check from Don Bertram to Bondage Breakers Ministries
SW00005         SW00005        Receipt for purchase of money order by Angela Johnson Duncan
SW00006         SW00008        Meadow Brook Country Club receipts
SW00009         SW00009        Check #535 from Hedberg Trust to Dale Hedberg for $111,701.50
SW00010         SW00013        Various Western Union wire transfer receipts
SW00014         SW00016        SLCA Family Trust History
SW00017         SW00020        Application for membership to Meadow Brook Country Club of Lindsey
                               Springer
SW00021         SW00022        Reorder form for tapes from Bondage Breakers Ministries of Jerry Dale

SW00023         SW00085             Miscellaneous receipts, business cards, envelopes, and other various
                                    items seized during search warrant
SW00086         SW00194             Various automobile documents such as maintenance and repair
                                    receipts, title and registration records, and insurance records


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SW00195        SW00286          Various receipts of cash expenses
SW00287        SW00342          Various receipts and other documentation of mailing transactions with
                                USPS, Fedex, and Mail Emporium of Tulsa, OK
SW00343        SW00392          Various expense receipts and other documentation of transactions with
                                utility companies
SW00393        SW00421          Expense receipts and other documentation of personal insurance
                                transactions of Lindsey Springer
SW00422        SW00627          Purchaser receipts for money orders purchased at USPS, Checks
                                Cashed, and other businesses
SW00628        SW00695          Receipts of child support payments made from Lindsey Springer to
                                Regina Carlson
SW00696        SW00697          2003 Creek County Real Estate Tax assessments of property owned by
                                SLCA Family Trust
SW00698        SW00719          Credit Memos of First United Bank (Sapulpa, OK) and Security National
                                Bank (Sapulpa, OK)
SW00720        SW00745          Expense receipts and other documentation of transactions with various
                                telephone companies
SW00746        SW00751          Copies of and/or purchaser receipts of cashier's checks purchased by
                                Lindsey Springer
SW00752        SW00759          Documentation of medical expenses charged to Lindsey Springer
SW00760        SW00766          Receipts of transactions with Checks Cashed
SW00767        SW00778          Receipts of cash received from Lindsey Springer for child's tuition
SW00779        SW00780          IRS evidence bag #3 from box #1 and label describing contents of
                                seized items
SW00781        SW01008          Purchaser receipts for money orders purchased at Checks Cashed and
                                other businesses
SW01009        SW01020          Credit Memos of First United Bank (Sapulpa, OK)
SW01021        SW01057          Receipts of child support payments made from Lindsey Springer to
                                Regina Carlson
SW01058        SW01065          Receipts of cash received from Lindsey Springer for child's tuition
SW01066        SW01066          Receipt of transaction with Checks Cashed on 2/8/02
SW01067        SW01067          Documentation of purchase of 1989 Corvette at Brad Noe Autoplex
                                (Tulsa, OK)
SW01068        SW01077          Various receipts and other documentation of mailing transactions with
                                USPS and Fedex
SW01078        SW01081          Receipts of transactions of SLCA Family Trust with Heartland Cable
                                (Sand Springs, OK)
SW01082        SW01083          Delinquent Tax Notice from Creek County Treasurer to SLCA Family
                                Trust
SW01084        SW01100          Miscellaneous receipts of transactions at various businesses
SW01101        SW01113          Various expense receipts and other documentation of transactions with
                                utility companies
SW01114        SW01116          Documentation of medical expenses of Clayton Springer
SW01117        SW01118          Documentation of insurance expenses paid by Lindsey Springer
SW01119        SW01136          Expense receipts and other documentation of transactions with various
                                telephone companies
SW01137        SW01142          Miscellaneous business cards and other various items seized during
                                search warrant
SW01143        SW01144          IRS evidence bag #4 from box #1 and label describing contents of
                                seized items
SW01145        SW01146          IRS evidence bag #9 from box #2 and label describing contents of
                                seized items


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SW01147        SW01160          Various expense receipts
SW01161        SW01171          Purchaser receipts of money orders purchased by Lindsey Springer
                                from Arkansas Valley State Bank
SW01172        SW01172          Purchaser receipt for cashier's check purchased by Lindsey Springer
                                payable to Lexus of Tulsa
SW01173        SW01173          Purchaser copy of bill of sale of 2004 Lexus RX 330 purchased by
                                Lindsey Springer from Lexus of Tulsa on 9/9/03
SW01174        SW01175          IRS evidence bag #8 from box #2 and label describing contents of
                                seized items
SW01176        SW01195          Various expense receipts and other miscellaneous items
SW01196        SW01197          IRS evidence bag #12 from box #2 and label describing contents of
                                seized items
SW01198        SW01203          Various expense receipts
SW01204        SW01205          IRS evidence bag #6 from box #2 and label describing contents of
                                seized items
SW01206        SW01221          Purchaser receipts for purchase of money orders and other
                                miscellaneous items
SW01222        SW01223          IRS evidence bag #11 from box #2 and label describing contents of
                                seized items
SW01224        SW01226          Invoice from Piper Media Services to Lindsey Springer and
                                accompanying mailing labels
SW01227        SW01228          IRS evidence bag #7 from box #2 and label describing contents of
                                seized items
SW01229        SW01230          IRS evidence bag #10 from box #2 and label describing contents of
                                seized items
SW01231        SW01232          IRS evidence bag #5 from box #2 and label describing contents of
                                seized items
SW01233        SW01331          Various expense receipts, invoices, and other documents of
                                transactions of Lindsey Springer
SW01332        SW01349          Notice of Hearing sent from Dale Hedberg to Lindsey Springer
SW01350        SW01412          Motor home insurance policy registered to Lindsey Springer from
                                Progressive Insurance
SW01413        SW01469          Department of Justice motions concerning lawsuits involving Lindsey
                                Springer
SW01470        SW01595          Various correspondence and other information from businesses and
                                Lindsey Springer
SW01596        SW01605          United States Reply Brief in civil case involving Lindsey Springer
SW01606        SW01628          Various correspondence and other information from businesses and
                                Lindsey Springer
SW01629        SW01630          IRS evidence bag #13 from box #3 and label describing contents of
                                seized items
SW01631        SW01668          Various invoices and expense receipts and other documents of
                                transactions
SW01669        SW01673          Documentation and copies of checks written from Woodcock IOLTA
                                Account to Duane Hasselbrock and George Woodcock
SW01674        SW01698          Documentation of vehicle and motor home purchases, insurance, and
                                other records
SW01699        SW01700          IRS evidence bag #4 from box #3 and label describing contents of
                                seized items
SW01701        SW01737          Receipts and other documentation of eBay and other expenses and
                                transactions




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SW01738        SW01741          IRS evidence bag #16 from box #3 and labels describing contents of
                                seized items
SW01742        SW01862          Various receipts and invoices of transactions with various businesses,
                                business cards, & automobile insurance policy
SW01863        SW02207          Copy of 1997 calendar/daily planner and items found inside
SW02208        SW02209          IRS evidence bag #17 from box #3 and labels describing contents of
                                seized items
SW02210        SW02452          Various expense receipts and invoices of transactions, advertisements,
                                appliance instruction manuals, and other correspondence from various
                                businesses
SW02453        SW02467          Handwritten invoices and explanations of work done by Brent (last
                                name unknown) to Lindsey Springer
SW02468        SW02522          Various expense receipts of transactions with various businesses
SW02523        SW02662          Invoices, statements, and other correspondence from
                                telecommunications and automotive businesses
SW02663        SW02668          Letter and other legal documents from Lori Damhorst to Lindsey
                                Springer
SW02669        SW02765          Invoices and statements from automotive, telecommunications,
                                medical, and insurance companies to Lindsey Springer
SW02766        SW02776          Purchaser receipts for money orders purchased from Checks Cashed

SW02777        SW02777          Copy of front of envelope mailed from Oscar Stilley to Lindsey Springer

SW02778        SW02781          IRS evidence bag #15 from box #3 and labels describing contents of
                                seized items
SW02782        SW02840          Various expense receipts, statements, and other correspondence from
                                various businesses and Lindsey Springer
SW02841        SW02873          Legal documents and other related documents of civil case of Lindsey
                                Springer vs. Tiffany Matthews
SW02874        SW03044          Miscellaneous information and correspondence of Bondage Breakers
                                Ministries and various individuals
SW03045        SW03059          Purchaser receipts for money orders purchased from Checks Cashed

SW03060        SW03092          Various automobile documents such as title/registration, bills of sale,
                                and miscellaneous invoices
SW03093        SW03128          Documentation including money orders purchased at Checks Cashed
                                for purchase of 1994 Ford F150
SW03129        SW03179          Various automobile documents such as title/registration, bills of sale,
                                and miscellaneous invoices
SW03180        SW03187          Documentation including cashier's checks totaling $40,000 for purchase
                                of 1999 Mercedes G Wagon
SW03188        SW03220          Various automobile documents such as title/registration, bills of sale,
                                invoices and miscellaneous receipts
SW03221        SW03222          Invoice from Tulsa Truck & Body to Lindsey Springer
SW03223        SW03255          Documents relating to purchase, registration, and maintenance of 1998
                                GMC Jimmy
SW03256        SW03281          Documentation of purchase and maintenance of 1993 Chevrolet 1 Ton
                                Truck including money orders purchased at Checks Cashed
SW03282        SW03287          Invoices relating to maintenance of 1990 Jaguar
SW03288        SW03309          Documents relating to purchase, registration, and maintenance of 1995
                                Land Rover




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SW03310        SW03365          Invoices, statements, expense receipts and other documentation
                                relating to remodeling of house
SW03366        SW03403          Documents relating to purchase, registration, and maintenance of 1985
                                Chevrolet
SW03404        SW03529          Documents including purchaser receipts of money orders purchased at
                                Checks Cashed relating to purchase, registration, and maintenance of
                                1994 Mercedes G Wagon
SW03530        SW03564          Documentation of insurance and maintenance of 1989 4x4
SW03565        SW03821          Owner's manual, maintenance, and registration documentation relating
                                to 1994 Nissan truck
SW03822        SW03986          Tape and document order forms and other correspondence from
                                supporters of Bondage Breakers Ministry to Lindsey Springer
SW03987        SW03988          IRS evidence bag and label describing contents of seized items
SW03989        SW04128          Legal documents including some relative to court cases involving
                                Lindsey Springer
SW04129        SW04168          Miscellaneous expense receipts and documentation of mail transactions

SW04169        SW04178          Tape and document order forms and other correspondence from
                                supporters of Bondage Breakers Ministry to Lindsey Springer
SW04179        SW04211          Statements from telecommunications businesses to Bondage Breakers
                                Ministry
SW04212        SW04256          Title of 1991 Mercury Tracer and insurance policy covering multiple
                                vehicles
SW04257        SW04261          Letter dated 1/28/01 and other correspondence from Marcey Hamm to
                                Lindsey Springer
SW04262        SW04282          Various correspondence from the Securities & Exchange Commission
                                to Lindsey Springer
SW04283        SW04291          Correspondence from the US Department of Justice to Oscar Stilley

SW04292        SW04299          Transcript of Grand Jury testimony of Larry Johnson relative to
                                Patterson investigation
SW04300        SW04315          Miscellaneous documents including POA relative to Oscar Stilley's
                                representation of Eddy Patterson
SW04316        SW04318          Inventory of all items seized by IRS during search warrant
SW04319        SW04364          Statements from Voice Stream Wireless Communications to Tiffini
                                Matthews
SW04365        SW04368          Legal documents relative to court case involving Vikki Wiggins and
                                Lindsey Springer
SW04369        SW04491          Various expense receipts, statements, and other correspondence from
                                various businesses and Lindsey Springer
SW04492        SW04502          Legal documents including exhibits relative to court case of Danny
                                Martin
SW04503        SW04661          Statements from Voice Stream Wireless Communications to Tiffini
                                Matthews
SW04662        SW04663          Excerpt from Supreme Court ruling in Hepburn v. Griswold
SW04664        SW04664          Excerpt from court case involving Cheal and Birmingham
SW04665        SW04665          Statement from Sprint PCS to Bondage Breakers Ministry
SW04666        SW04714          Search warrant and supporting documents for 25758 S 201st W Ave,
                                Kellyville, OK
SW04715        SW04717          Release of Claim and US Treasury check in amount of $17,000 to
                                Lindsey Springer




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SW04718         SW04718          Property Receipt for return of computer hard drive to Lindsey Springer

SW04719         SW04722          Providian statements of Oscar Stilley
SW04723         SW04725          Letter from Taxpayer Advocate Service to Mr. Craig dated 6/28/05
SW04726         SW04728          Itemized statements for services rendered by Oscar Stilley
SW04729         SW04729          Email correspondence between Jennifer Robertson and Oscar Stilley

SW04730         SW04731          Letter from Patrick Turner to IRS Special Agent Ellery
SW04732         SW04737          Draft of letter from Lindsey Springer to unknown recipients
SW04738         SW04739          Explanation of affirmative act constituting evasion or defeat of payment
                                 of tax
SW04740         SW04740          Letter from Lindsey Springer to Art Hawkins
SW04741         SW04742          Copy of Loan/Gift Agreement between Patrick Turner and Lindsey
                                 Springer
SW04743         SW04745          Mailing labels containing addresses of various individuals
SW04746         SW04746          Bill of Sale from transaction between Lindsey Springer and Ronald
                                 Brooks
SW04747         SW04752          Warranty Deeds and minutes from transaction between Neighborhood
                                 Holdings and Pat and Patricia Turner
TURNER00001     TURNER00149      Documents received pursuant to subpoena to Accurso, Randel &
                                 Company, P.C.
WIGGINS00001    WIGGINS00001     Articles of Incorporation for R.J.F.S. Trust
WIGGINS00002    WIGGINS00004     Letter from Vikki Wiggins detailing phone call of Jeremy Selvey
WIGGINS00004    WIGGINS00065     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00066    WIGGINS00066     Letter from attorney Hiram Martin to Lindsey Springer 07/13/01
WIGGINS00067    WIGGINS00068     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00069    WIGGINS00069     Letter from attorney Hiram Martin to Lindsey Springer 07/05/01
WIGGINS00070    WIGGINS00099     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00100    WIGGINS00100     Letter from Vikki Wiggins thanking Hiram and Lindsey 06/18/01
WIGGINS00101    WIGGINS00122     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00123    WIGGINS00123     Letter from attorney Hiram Martin to Lindsey Springer 06/15/01
WIGGINS00124    WIGGINS00124     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00125    WIGGINS00125     Letter from attorney Hiram Martin to Lindsey Springer 06/15/01
WIGGINS00126    WIGGINS00127     Letter from attorney Hiram Martin to Lindsey Springer 06/15/01
WIGGINS00128    WIGGINS00128     Letter from Vikki Wiggins to Hiram and Lindsey
WIGGINS00129    WIGGINS00129     Letter from Vikki Wiggins to Hiram and Lindsey 06/13/01
WIGGINS00130    WIGGINS00130     Fax cover sheet from Wiggins to attorney Hiram Martin mentioning
                                 Lindsey 06/13/01
WIGGINS00131    WIGGINS00131     Letter from attorney Hiram Martin to Lindsey Springer 06/13/01
WIGGINS00132    WIGGINS00142     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00143    WIGGINS00143     Sample letter from Lindsey 06/05/01
WIGGINS00144    WIGGINS00144     Letter from attorney Hiram Martin to Lindsey Springer about proposed
                                 letter to Jeremy Selvey 6/6/01
WIGGINS00145    WIGGINS00145     Letter from attorney Hiram Martin to Vikki Wiggins mentioning Lindsey
                                 Springer 6/8/01
WIGGINS00146    WIGGINS00146     Fax from Vikki Wiggins to Lindsey Springer 6/5/01


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WIGGINS00147    WIGGINS00147     Letter from Vikki Wiggins to Lindsey Springer 6/5/01
WIGGINS00148    WIGGINS00148     Retainer Agreement from attorney Hiram Martin 6/4/01
WIGGINS00149    WIGGINS00149     Sample letter from Lindsey Springer
WIGGINS00150    WIGGINS00150     Fax from attorney Hiram Martin to Vikki Wiggins about Retainer
                                 Agreement 6/4/01
WIGGINS00151    WIGGINS00173     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from Jeremy Selvey
WIGGINS00174    WIGGINS00190     Database profiles for attorney Hiram Martin and Lindsey Springer
WIGGINS00191    WIGGINS00193     Check stubs and tracking slips for payments to Hiram Martin, Lindsey
                                 Springer, and Ron Walker
WIGGINS00194    WIGGINS00276     Documents/correspondence related to Vikki Wiggins' church's funds
                                 invested with Jeremy Selvey
WIGGINS00277    WIGGINS00453     Correspondence between Vikki Wiggins and Jeremy Selvey
WIGGINS00454    WIGGINS00465     Documents related to Garlin Associated Ministries
WIGGINS00466    WIGGINS00466     Letter from Vikki Wiggins to International Funding Association (IFA)
                                 mentioning Lindsey Springer
WIGGINS00467    WIGGINS00578     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from IFA
WIGGINS00579    WIGGINS00586     Draft of declaration and complaint filed by Vikki Wiggins and Lindsey
                                 Springer against IFA to recover funds
WIGGINS00587    WIGGINS00600     Correspondence from IFA
WIGGINS00601    WIGGINS00636     Court documents and filings related to the complaint of Wiggins and
                                 Springer against IFA
WIGGINS00637    WIGGINS00657     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from IFA
WIGGINS00658    WIGGINS00671     Court documents and filings related to the complaint of Wiggins and
                                 Springer against IFA
WIGGINS00672    WIGGINS00673     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from IFA
WIGGINS00674    WIGGINS00674     Bondage Breakers Unlimited Inc. Quick Start Membership
WIGGINS00675    WIGGINS00675     Christian Patriot Assoc. Membership Application
WIGGINS00676    WIGGINS00681     Letter from IFA with handwriting referencing Lindsey Springer and
                                 copies of checks to Vikki Wiggins from IFA
WIGGINS00682    WIGGINS00792     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from IFA
WIGGINS00793    WIGGINS00793     Letter from Vikki Wiggins to Ron Holt, CC Lindsey Springer related to
                                 obtaining money back from IFA
WIGGINS00794    WIGGINS00799     Documents/correspondence related to Vikki Wiggins attempt to recoup
                                 church funds from IFA
WIGGINS00800    WIGGINS00952     Court documents and filings related to the complaint of Wiggins and
                                 Springer against IFA
WIGGINS00953    WIGGINS01239     Complaint filed and information submitted by Vikki Wiggins with the
                                 State of California Department of Corporations
WIGGINS01240    WIGGINS01240     Document titled "Funds Spent in an Attempt to Recover Funds from
                                 Jeremy Selvey as Follows"
WIGGINS01241    WIGGINS01433     Information submitted by Vikki Wiggins with the complaint to the State
                                 of California Department of Corporations




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